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Hida|go County District C|erks
Reviewed By: Prisci||a Rivas

CAUSE NO. C-5149-l4-H
PHARR SAN JUAN ALAMO

INDEPENDENT SCHOOL DISTRICT
Plaz'ntiff

IN THE DISTRICT COURT

§
§
§
§
§
vs. §
§ HIDALGO COUNTY, TEXAS
TEXAS DESCON, L.P., DESCON 4S, §
L.L.C. and ERO INTERNATIONAL, §
L.L.P. d/b/a ERO ARCHITECTS §

Defendants §

389th JUDICIAL msch

PLAINTIFF PHARR SAN JUAN AL

 

FIRST AMENDED DESIGNATION OF EXPERTS

COMES NOW, PHARR SAN JUAN ALAMO INDEPENDENT SCHOOL DISTRICT,
Plaintiff in the above numbered and styled cause, and tenders its First Amended Designation of
Experts in compliance with the July 17, 2015 Agreed Level 3 Docket Control Otder deadline for
Plaintift`s expert designation and production of expert reports.

(1) "I`he expert’s name, address, and telephone number

Answer:

Bradford Russell, AIA, P.E.

BR A'rchitects

2007 N. Collins Boulevard, Suite 507
Richardson, Texas 75080

(972) 235-9308

Thotnas June Melton, III, P.E.
Amstar Engineering, Inc.

707 River Road

Austin, Texas 78734

(512) 263-3661

Irene B. Thompson
Aguirre & Patterson
3315 N. McColl Road
McAllen, Texas 78501
(956) 686-4532

 

 

Case 7:15-cv-OO465 Document 1-2 Filed in TXSD on 11/06/15 PM@O% gil §§ d
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Agustin J. Rodriguez

Project Manager, District Architect

Phan' San .Iuan Alamo lodependent School District
601 E-. Kelly, Pharr, Texas 78577

(956) 354-2000

Jesus Ramirez

Ebony Park, Suite B
700 N. Veterans Blvd.
San Juan, Texas 78589
(956) 502-5424

(956) 502-5007 (fax)

The following are not retained experts, but Plaintiff reserves the right to call to testify and
to elicit, by way of eross-examination, opinion testimony, and adverse testimony from the
following potential experts or persons with knowledge of the lawsuit:

Eli R. Ochoa, P.E., AIA
Octavio Cantu

David Delnay

Susan Daniels

Jesus Delgado

ERO International, L.L.P.
d/b/a ERO Architects

Texas Descon, L.P. and Descon 4S, L.L.C.
Ernployees, agents, and representatives
Claudio S. Velasco, Senior Proj ect Manager
Michael D. Smith, President

Bruce L. Morris, P.E.

Steven A. Frase, P.E.

Rimkus Consulting Group
4801 NW Interstate 410 Loop
Frontage Road

San Antonio, Texas 78229
(21,0) 647-8400

Williarn Stice, R.E.F.P.

David Tyner

Gerald F. A. Lowe, P.E.

Jeffrey A. Miller, P.E., C.B.C.P.
Terracon Consultants, Inc.

6911 Blanco Road

San Antonio, Texas 7 8216
(210) 641-2112

 

Case 7:15-cv-OO465 Document 1-2 Filed in TXSD on 11/06/15

Frank S. Lam, P.E.

Zach Lindaur

Franl< Lam & Associates, Inc.
508 W. 16“‘ street

Austin, Texas 78701

(512) 476-2717

K_atrin Miovski, P.E.

Raba Kistner Consultants, Inc.
800 East Hackberry

McAllen, Texas 78501

(956) 682-5487

Andre G. Garner

Garner Consulting Group

100 Commons Road, Ste. 7-302
Dripping Springs, Texas 78620
(512) 894-0754

Curtis Ardoin

Delta Structural Technology
3601 North Loop 336 West
Conroe, Texas 77304

Kristina D. I-Iernandez, P.E., C.F.M.
Halff Associates, Inc.

5000 West Military, Ste. 100
McAllen, Texas 78503

(956) 664»1960

MEP Solutions Engineering
Employees, agents and representatives
600 E. Beaumont Ave.nue

McAllen, Texas 78501

(956) 664-2727

Rieardo I~Iinojosa, P.E.
Hinojosa Engineering, Inc.
108 Cleo Dawson
Mission, Texas 78572
(956) 581.-0143

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8/31/2015 9:11:07 AM
Hidalgo County District C|erks
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Case 7:15-cv-OO465 Document 1-2 Filed in TXSD on 11/06/15

(2)

Jorge D. Perez, P.E.

Pe:i‘e-z Consultiiig Engineers
808 Dallas Avenue
McAllen, Texas 78501
(956) 631-4482

Gary L. Olivares

Accessibility Cocle Consulting, L.L.C.
1314 Possum Trot

Austin, Texas 78703

(512) 476-8675

Arml<o Industries, Inc.

Ernployees, agents and representatives
1320 Spinks Road

Flower Mound, Texas 75028

(972) 874-1388

Jack Holland

Terminix Pest Control
1903 Joe Stephens Blvd.
Weslaco, Texas 78596
(956) 650-0602

Steve Lemmons

Universal Claims Services, Inc.
2004 North Jackson Road
Pharr, Texas 78577

(956) 994-1277

McAllen Ca\pet & Interiors, L.P.
Employees, agents and representatives
1200 E. Jasmine Avenue

McAllen, Texas 78501

(956) 686-8682

The subject matter on which the expert will testify

Answer:

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Mr. Russell will testify as to the engineering work performed by the Architeet in
the design and planning of improvements for the re-adaptive/rehabilitative
construction Project which is the basis of this lawsuit, including standards ot` the
prcfession, omissions and errors committed by the Arehitect, and proximately

4

 

 

Case 7:15-cv-OO465 Document 1-2 Filed in TXSD on 11/06/15 P§&pro§ic%i|y$|§ed

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Hida|go County District C|erks
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resulting damages. Mr. Russell Will additionally testify regarding the demolition
work performed by the Descon defendants in Phase l of the l’roject, and generally
regarding safe demolition practices

Mr. Melton will testify as to the engineering work performed by Mr. Eli Ochoa,
PE, AlA/RRO International, L.L.P. dib/a ERO Architects (“Architect”) in the
design and planning of improvements for the re-adaptivefrehabilitative
construction Project which is the basis ol` this lawsuit Mr. Mclton will testify as
to structural engineering issues. Mr. Melton will testify as to the work performed
by Mr. Frank S. Lam, P.E. and Frank Lam & Associatcs, Inc. in the preparation of
a structural engineering evaluation for the Architect on the project Mr. Melton
will testify as to the work of Mr. Bruce L. Morris, P.E. and Riinkus Consulting
Group, Inc. in evaluating damage at the Project site for Chubb Corporation.

Mr. Melton will additionally testify as to the proximate cause(s) of Plaintiff’s
damages in Phase I of the Proj ect, as well as calculations of damages.

Ms. Thompson Will offer her opinion as a professional appraiser as to the
respective values of the Stambaugh building and the textbook storage building

Mr. Rodriguez will testify regarding reasonable and necessary costs to repair
damages sustained at Phase l and Phase ll of tile Project, based on historical
construction costs for public school district construction in South Texas. He will
testify as to the specifications of the Starnba'ugh and Textbook Storage buildings,
including square footage, and as to what the original plans for these structures
entailed in terms of planned improvements

Mr. Ramirez will testify as to the reasonableness of Plaintiff’s attorney’s fees.

(3) The general substance of the expert’s mental impressions and opinions and a
brief summary of the basis of them, _or if the expert is not retained by,
employed by or otherwise subject to the control of the Plaintiff, documents
reflecting such information

Answer:
Architect

Regarding the assessment phase of the Project, Mr. Russell will testify that
Architect’s work deviated from acceptable standards in the practice of
architecture in the following respects:

(i) Failing to undertake/require reasonable foundation testing (core testing) to
determine existence/condition of moisture barrier between foundation and
soil;

(ii) Failing to address lack of moisture barrier in designs;

5

 

Case 7:15-cv-OO465 Document 1-2 Filed in TXSD on 11/06/15 P§ie%go§ic%ny§§led

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Hida|go County District C|erks
Reviewed By: Prisci||a Rivas

(iii) Failing to undertake/require reasonable structural testing of structural
elements

Regarding Phase l of the Project, the Architect failed to meet Architect’s design
responsibilities and specification requirements in a Project calling for partial
demolition of structural elements of an existing building in the following respects:

(i) Failing to consider the impact and risk of structural damage of demolition
Work in its designs and specifications for the construction project;

(ii) Failing to request and follow through with the general
contractor/demolition contractor to develop a specific plan containing
means and methods for the demolition (even though the contract between
Owner and Contraetor- so provided)

(iii) Upon failure of the general contractor to develop a specific plan containing
means and methods, permitting the contractor to proceed with demolition

Mr. Russell will testify that such errors and omissions constituted the proximate
cause of Plaintiff’s damages, including the collapse of a portion of the East Wall
and second story floor in the Main Building and resulting damage to the West
Wall and support columns, and other structural damage to the building

Regarding Phase ll of the Project, Mr. Russell will testify that Architect’s work

deviated from acceptable standards in the practice of architecture in the following
respects:

(i) Failing to conduct reasonable investigation of the conditions of the two
buildings (Starnbaugh Building and Textbook Storage building) before
inducing the district to approve the plans and specifications and award the
construction contract;

(ii) Failing to determine existing conditions of the two buildings rather than
relying upon unreasonable assumptions while preparing plans and
specifications for rehabilitative!re-adaptive use.

(iii) As chief advisor to the District on design and construction issues, advising
the District to proceed on a course of action without having made an
adequate evaluation of existing eonditions, knowing that the District
would necessarily rely upon the Architect’s representations

Mr. Russell will testify that such errors and omissions constituted the proximate
cause of Plaintist damages in Phase II of the Project. (See attached Expert
Report of Mr. Bradford Russell, AIA, PE.)

Descon Def`endan ts

 

Mr. Russell will testify that the Deseon Defendants were negligent in their failure
to adequately inspect and test the structures and site beforehand and failure to use
appropriate demolition means and methods in Phase I of the Project Such

 

 

Case 7:15-cv-OO465 Document 1-2 Filed in TXSD on 11/06/15 P§ig:gozic%]‘|yq_§ed

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Hida|go County District C|erks
Reviewed By: Prisci||a Rivas

negligence proximately resulted in the damages that Plaintiff has complained of in
this lawsuit (See attached Expert Report of Mr. Bradford Russell, AIA, PE.)

Frank Lam & Associates, lne.

Mr. Melton will testify that Frank Lam & Associates was negligent in failing to
undertake a more thorough investigation and determination of the structural
integrity of the existing facilities in preparation for modification and renovation.
The report produced by Frank Lam & Associates was based on cursory
observations and no exploratory testing was performed to determine the make-up
of the exterior walls. Mr. Melton will further testify that Frank Lam & Associates
was negligent in not preparing instructional demolition plans and not being on site
every day that demolition was taking place to girard against careless actions of the
demolition contractor and to ensure that proper and appropriate safeguards were
used to prevent damage to portions of the building not scheduled for demolition
(See attached lixpert Report of 'l`hornas June Melton, III, P.E.)

Rirnkus Consulting Group, Inc.

Mr. Melton will testify that Rimkus Consulting Group, lnc.’s investigation of the
District’s damages was arbitrarily narrow in scope, and the resulting report
excluded a vast portion of the damage sustained by the Distriet attributable to the
collapse of the east wall, including damage to the brick roof parapet, damage
resulting from lateral forces traveling east to west through the building, and
damage to support columns in the basement (See attached Expert Report of
Thomas June Melton, III, P.E.)

Darnages

Mr. Melton auditor Mr. Russell will testify that the Plaintiff"s proper measure of
damages regarding Phase l of the Project is the cost of construction repairs
resulting from the collapse and resulting damage to the property.

Mr. Melton and/or Mr. Russell will testify that the Plaintiff"s proper measure of
damages regarding Phase ll of the Project would be calculated as follows:

(1) the actual cost differential in the change orders to the contract to address
the wrong assumptions and flawed understanding of actual conditions of
the Architect, and

(2) the pecuniary loss resulting from the loss of use of the comparable square
footage of space of the 'l"extbook and Stambaugh buildings which resulted
from proceeding to make the improvements to those buildings when new
construction of a comparable square footage wouid have been more
efficient

 

Case 7:15-cv-OO465 Document 1-2 Filed in TXSD on 11/06/15 P§gcero§ipat|)§|§led

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Hidalgo County District C|erks
Reviewed By: Prisci||a Rivas

Ms. Thompson’s appraisals of the Stambaugh building and Textbook Storage
building will be employed to provide a basis for the calculations referred to
above. (See “Appr`aisal Report of an Existing Educational Building (aka
Textbook Building) 714 E. U.S. Business Highway 83, Pharr, Texas 78577” and
“Appraisal Report of an Existing Educational Building (aita Stambaugh Bui_lding)
714 E. U.S. Business Highway 83, Pharr, Texas 78577.”)

Mr. R.odriguez’ calculations as to the reasonable and necessary costs to repair the
damages sustained by Plaintiff in Phase I and ll of the Projeet, as well as
testimony as to specifications of the Stambaugh and Textbook storage buildings
will provide a basis for the calculations referred to above.

Attorney Fees

Mr. Jesus Ramirez has formed opinions regarding the reasonableness of the
Plaintiff’s attorney’s fees billed on this case; the opinions arc based on a review of
the pleadings, evidence, discovery and depositions taken in the case, as well as the
case law applicable to the case, and their experience as trial and appellate
attorneys

(4) If the expert is retained by, employed by, or otherwise subject to the control
of the responding party

A. All documents, tangible things, reports, models, or data compilations that
have been provided to, reviewed by, or prepared by or for the expert in
anticipation of the expert’ s testimony

Answer:

A Bates labeled expert file, comprising alll documents reviewed by
Plaintiff`s experts, is attached Additionally, expert reports from Mr.
Russell, Mr. Melton, and Mr. Rodriguez are attached.

Mr. Ramirez has reviewed the pleadings and papers on file in this action.

B. The expert’s resume and bibliography.
Answer:

Resurnes/job descriptions are attached hereto for retained experts

The Plaintiff reserves the right to call to testify and hereby designates any timely
designated expert witness listed by any other party to this lawsuit Plaintiff further reserves the
right to elicit, by way of cross-examination, opinion testimony, and adverse testimony, from
experts and non-expert witnesses designated and called by other parties to this suit. Plaintiif
reserves the right to call undesi.gnated rebuttal expert witnesses whose testimony cannot

8

 

Case 7:15-cv-OO465 Document 1-2 Filed in TXSD on 11/06/15 P§pcero%ipatl;§|ed

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reasonably be foreseen until the presentation of the evidence in this trial. Plaintiff reserves the
right to withdraw the designation of any expert and to aver positively that any such previously
designated expert will not be called as a witness at trial, and to re-designate same as a consulting
expert, who cannot be called by opposing counsel. Plaintiff hereby designates, as adverse parties,
potentially adverse parties, and/or as witnesses associated with adverse parties, all parties to this
suit, and all experts designated by any party to this suit, even if the designating party to this suit,
even if the designating party is not a party to this suit at the time of trial. In the event a future or
present party designates an expert but then is dismissed for any reason from the suit or fails to
call any designated expert, Plaintiff reserves the right to designate and/or call any such party or
any such previously designated experts by any party. Additionally, Plaintiff reserves any
unmentioned rights with regard to experts, pursuant to the Texas Rules of Civil Procedure, the
Texas Rules of Civil Evidence, the case law regarding same and the rulings of this Court.
Plaintitf reserves the right elicit expert,- lay or adverse opinions by way of examinations, cross-
examination or other means, whether appropriate, from those witnesses designated by Defendant
or any Intervenor who may have knowledge of relevant facts and/or have been designated as
expert witnesses Additionally, Plaintiff hereby reserves the right to call as trial witnesses those
individuals designated as persons with knowledge by Det`endant or intervenor in this cause of
action. Such information is on tile with the court and has been served upon the other parties in
this lawsuit If a business entity is designated as a person with knowledge herein, you may
assume that the appropriate custodian of records may testify as a person with knowledge

Respectfully submitted,

THE J. RAMIREZ LAW FIRM
700 North Veterans Blvd., Suite B
San Juan, Texas 78589

Phone: (956) 502-5424

Fax: (956) 502-5007

Ernail: jramirez@rg-legal.com

JESUS RAMIREZ

SBN 16501950

Email: ramirezbook@gmail.c'om
ROBERT SCHELL

SBN 24007992

Email: rscliell@rg-|egal.com
ATTORNEYS FOR PLAINTIFF
PHARR SAN JUAN ALAMO ISD

By:

 

 

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Case 7:15-cv-OO465 Document 1-2 Filed in TXSD on 11/06/15 P%%e 10 oty§§ed

CERTIFICATE OF SERVICE

l, JESUS RAMIREZ, certify that on the 28th day of August, 2015, _a true and correct
copy of the foregoing, PLALNTIFF PHARR SAN JUAN ALAMO IND]_EPENI)ENT
SCHOOL DISTRICT’S FIRST AMENDED EXPERT DESIGNATION was mailed on the
following counsel of record:

Via Fedem! Express No. 7743 902 7 3 980

And Ema¢').': dben.famin@geni'awsa.com

David P. Benj amin

BENJAMIN, VANA, MARTINEZ & BIGGS, LLP
2161 NW Military Highway, Suite lll

San Antonio, Texas 78213

Via Fedemt E.\gpress No. 7743 9043 ._2920
find Emar’£.' mbg@,r_wgfaw.com

Matthew B. Cano

Sara Whittington May

ALLENSWORTH AND PORTER, L.L.P.
100 Congress Avenue, Suite 700

Austin, Texas 7870l ~

Via Fgglera£ Express No. 7743 965 7 639_§
And Emar'{: sedwards@tudgins~{a w.com
Spencer Edwards

THE HUDGINS LAW FIRM

A PROFESSIONAL CORPORATION

24 Greenway Plaza, Suite 2000

Houston, Texas 77046

Via Federa£ E§press No. 7743 9163 7486
Am£ Email: dmedrrcli@£eardmedackgc.com
David W. Medack

J ames P. Davis

HEARD & MEDACK, L.P.

9494 Southwest Freeway, Suite 700
Houston, Texas 77075

 

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Case 7:15-cv-OO465 Document 1-2 Filed in TXSD on 11/06/15 Page 11 of 55

 

AP.CH TECT§
& E NG N E E RS ,Bradford Russell, AIA, P.E.
Director of Arcliitectm'e/ Engineering
BR. Acchitects, Inc.
Education:

Southern Metllodlst Univei'sity5 Dallas, Texas
Curreutly writing l’hD
' University of T`exas at Arlingto-n

Master of E`ngtneerin_g in Clvil / Structural Englneerlng

Texas Tech I_Iniversity, Lubbock, Texas

Bachelor of Arehltecto_re, Tau Sigma Delta Horior Soclety,
Baehelor of Sctence in Ci`vil Englneering, Tau Beta Pi Hon'or

Soc.iety, Cbi Epsilon Honor Society
Professlonal Registr~ation:
Registered Architect, State of'l`exas
Registered Architect, S.tate of0k1ah01na

Registered Prot'essiona'l~ Engineer, State of Texas
Registered Protbss'ional Engineer, State of Oklahoma

Ceit,ifted to practice Structural Eugineering by the Su'uctural Engineering

Certiticalion Boai d (SECB)
R'egistered Accessibility Specialist

Nationa'l Counoil of Architectura'l Registration Boards (NCA RB)

NCA-RB Seismic Mitigation Monograph

NCEES file holder

NCEES [nternational Reg'istry Certit`ic.ate holder
LEED Accredited Pro.t`easional

CalEMA Sat`ety Assessmont I’ro'grnm card holder

Texas Depa_rtznent_ of insurance ~ Engineers Appointed to Perfotm

Windstorrn lnspections
Profcssional Afflliatio_ns:

Dallas Ci\apter AIA,

“l`exas Society of Architects

Amcrican Institute of Arohitects

Amerlcan Society of Civil Engineers

S,tructuxal Engineering Institute

Structural Engineering Assoclation ofTexas

US Greon Building C_ouncil

Greater Dallas Planning Council, Board Member
Professional Orgaoizotion Posltloos:

Dallas Chapter AlA,

Past Small Firms Committce Chair
Past Constrnction Induatries Affairs Co-Chair

BR ARCHI'|`ECTS, lnc.
2007 N. Cul`fins Biv<i., Suite 507 ¢ Riohm'dson. 'l`exas 75080 v P (972) 235.-9308`

¢ F (972) 235-9388

 

 

 

 

Case 7:15-cv-OO465 Document 1-2 Filed in TXSD on 11/06/15 Page 12 of 55

Project Resume
Braclford Russell, AIA, P.E.
BR Archirects, Inc.

Deoember 2013
Fage 2 of 9
National AIA
Past Executive National SFRT Committee Co-Chair
Past Member Board Knowledgo Committee
Past Prosident Dallas Stntctural Bngineering Association of Texas -
SEAoT
Current SEAoT Chair to Stmctural Engineerin`g Bmergency Response
Plan (SBERP)
Currcnt SBAoT/ A[A Liaison
Peuding Pntent:
Patent Appiication No.: 13/969,529
Patent Title: Load Bearing Structural Assembly
A lead Bearing Struetural Assembly is created to transfer and absorb
loading between parts more evenly and efficiently
Selected Publications: `
2000 .‘Co|umns - Monthly Publication of the Dallas Chaptcr of American
institute of At‘chitects’ - The Psycholcgy of Architectural Space,
December.
2005 ‘Dallas / Fot‘t Worth Construction News’ - Green design, 'tlexible
environments, enhanced roadways among current trend - editorial
_ interview, September.
2006 ‘Dallas Oti`ic'e & Commercial - Real Estate Magazlne' - ‘What Next?’,
Issuc 4.
2009 ‘Thc Structural Englneer - A Publication ofthe Structural Engineers

Assoclation ot"l`exas' - Green Materials tc Oft`set Seismio and Other
Natural Disaster Events, Spring.

2009 ' "I`he American Institut¢ of Architects Chieago Chapter - Changing 'l`itnes
/ Time for _Change’ - The Use of Greeu Materials in the Construction of
Buildings' Strueture, September.

2013 ‘Pre-Cast Manufacmrer Association ofTexas - yearly membership
publication’ ~ What happens to the structure when it is created as art?,
September.

litigation Consu|ting:

2008-2012 Under contract with TBAB for reviewing and consulting on the

Archireeturai and Structttral Engineoring litigation related issues of
statutory provisions and rules enforced by the Boani. This consulting

_ includes competence and/or legal authority of the design professional to
perform services noted as well as other issues

BR ARCI~IITECTS, lnc.
2007 N. Coili\ts Blvd., Suite 507 ~ Ricitardeon, Texas 75080 0 P (972) 235-9303 ¢ F (972) 235-9388

 

 

 

Case 7:15-cv-OO465 Document 1-2 Filed in TXSD on 11/06/15 Page 13 of 55

Project Reeume

Bradford Russoll, AIA, P.E.

BR Arcltitccts, Inc.

December 2013

Page 3 of 9

2003-2014 , Various Architectural and Stluct'ural Engincering litigation consulting

concerning various intcr~discipline issues of practice Van'ous
Architect'ural and Structural Engineering project failure investigations -
various building types.

Representative Projects (Coudeused list):
Building Foreu sic lnvestigation:

2005 -- 2014 Various multi-story building investigations on elevator failures `
(Architectural and Structural) various locations through the southeast/
west - Architeotural lnvestigation and Reporting, and Structw'nl
Engineering Invcstigatiou and reporting

201 1 DART retaining wall failure building impact investigation Iwing, Texas -
12,000 sq.i't. building adjacent to DART retaining wall experienced
structural failures in foundation paving, roof framing, exterior concrete
panels, etc. - Structural Engineering Investigation and Reporting

2010 Gieenville Avet\uc H1siot re Building tire damage renovation, Dallas,
Texas - 11,000 sq. it building footp11nt,3 100 sq. ft. 2'“l floor muazanlne,
6, 500 sq. t`t. roof top mezzanine- -Structural Engineering Design and
Documentation ~ $1,000,000 estimated construction cost

2007 Robcrt Lynn Commercial Real Estate Services, Dallas, Texas ~ 151 Regal
Row - 180,000 sq.ft. warehouse structural forensic investigation -
Stmctural Engineering lnvesti gotten and Reporting.

1 2007 WellsREIT / Emcor, living, Texas - 6333 N. State Highway 161 -
structural investigation for various building failures including garage
exterior wall j<_>int,l exterior retaining wall, exterior panel, etc. - Stzuctural
Engi'necring Investigation and Reporting.

2007 JP Morgan Chase, Dallas, 'l`exus - 6300 Hatry Hines - approximately
30,000 sq.l"t. investigation of multi-story building - structural capacity
investigation for increase in floor loading - Stiuctural Engincering
Iuvestigation and Reporting.

l'[otel Design:

2006 Courtyard by Marriott, Waco, Texas - 4,000 sq. tt. structural rcmodei - '
wood ii‘arne, wood tiuss, wood lateral support - Structural Englnecring
Dosign, Documcntation - $350,000 construction cost.

2003 Amerihost Inn Hotel, Gun Barrel City, Texas - 75-,000 sq. f`t. structural
engineering design, wood tiame, steel and wood lateral support, concrete
foundation - Slructural Engineering Design, Documeutation- $5. 8 million
construction cost

1311 ARCHITEC'I`S, Inc.
2007 N. Collins Blvd., Suite 507 » Rlcha\‘d$on, 'l"cxa:l 75080 0 i’ (972) 235-9308 0 I" (972] 235-9388

 

 

Case 7:15-cv-OO465 Document 1-2 Filed in TXSD on 11/06/15 Page 14 of 55

Project Resume

Bze.dfor'd Russell, AIA, P.E.

BR Architccts, Inc.
December 2013
Page 4 of 9

1999

Commercinl Design:
2003

2003

2010

2010

2005
2014

Industrtal Deslgn:
1996

` 1996

2005

Bradford I-lornc Suites, Dallss, l{ousbon, North Parlc, Toxas ~ 85,000 sq. i°t.
tc 109,000 sq. it structural engineering dcsign, wood frame, post tension
parking and foundation -» Strucnn'al Enginccring Dcnign, Docurnentatlcn »
$5.6 million construction cost

Inforrnatics, lnc., Plsno, Tcxss - 35,000 sq. it. office fwsrohousc - tilt up
construction, steel joist, and concrete s1le on grade -» Architectural
Design, Producticn and Msnegcment - $2.'1 million construction cost.

BSI, lnc., l’lano, Texss - 20,000 sq. i`t. oft'rcef warehouse addition to
existing facility - tilt up construction composite steel beam concrete floor,
end concrete slsh on grade- Architccturnl De.sign, Produclion and
Managoment - $1.8 million construction cost.

field Metai Recyciers, Dnllns, Tcxas - 10.000 sq.tt. office addition into
existing metal build ing, wood. stcsl, and concrete - Architocturnl and
Suucturul Enginecring Design, Docrnncntction ~ $0.65 million
construction cost.

RTVF, Dailas, Texas »- 6,000 sq.ft. foctprint with 6,000 sq,ft. 2“d floor
office reconstruct wood, stssl, and concrete - A_rchitcctursl and Structural
Engincering Dcsign. Documentation - $0.'?5 million construction cost

HSR l"lsza Phase li, Carrollton, Tcxas - 14,000 sq. ft. professional office
building, wood, steal, masonry and structure -» Arclritcctursl and
Structutul Enginecrmg Dcsign, Documcntntion - $1.4 million construction
cost.

Modern Forgo 'i`exas Offico, l-lurst, Texas- 5,000 sqrr?t. regional
manufacturing office building steel framel mssonry, EIFS, end structure -
Architectutul end Suuctursl Engineoring Desig_n, Documcntntion - $500
thousand construction cost.

Iupiter 190 Building 4, Dnllss, Tsxss - 200,000 sq. tt. warehouse using tilt
up construction steel joist, and concrete slab on grade - Areliitcotursl
Design, Production, and Msnngcment - 57 million construction cost.

1311ch Wsrchouse, Mdison, Texss - 200,000 sq. ft. warehouse using tilt
up construction steel_lolst, end concrete slab on grade - Arehitecturci
Design, Prodnorion, end Msnngcmont - $6.6 million construction cost.

Atlas Copco Oi'i'rcc, Gnrlrrncl1 Texes F~2,000 sq. tt. addition to drilling
assembly cross - steel framc, composite ilcor 2“li floor, concrete slsb on
grade 1‘ floor- Mchitcotursl Design, Production, Strucnn'al Engincering
Design, Production - $500,000 construction ccst.

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Case 7:15-cv-OO465 Document 1-2 Filed in TXSD on 11/06/15 Page 15 of 55

Project Rcsutw¢

Bmcll"ord Rnssell, AIA, P.E.

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Deeember 2013
Page 5 of 9

Retail Desigu:
2005

2004

1999

Whitetail Nurseries, Mesquite, Texns - 17,500 sq. ft. flower growing,
distribution and retail - Architectural Design, Production, Stmcturnl
Engineeiing Design, Pro<tuetion - $850,000 construction cost.

Fami_ly Dollar Retail / Offioe, Garland, Texas - 9,000 sq. ft. retail / office
using CMU load bearing masonry, steel joist, and concrete slab on grade -
Architectural Deslgn, Production, and Management, Structural
engineering Dosign, Production, and Mgmt. ~ $800,000 construction cosc.

_Walgrcen’s Retail Store, Plano, ’l`cxas - 14,000 sq. ft. retail store with all

amenities - steel framing, tilt up walls -Stiuctural Engineering Design,
Project Management - $1,200,000 construction cost.

Enterta|nment Doslgn:

2006

2004

1993

Paciugo leo Cream, Priseo, Texas - 4,000 sqt ft. interior finish out of shell
structure, dining, lcitchen, rest rooms, and other amenities - Aiohitecwral
De'sign, Documentation, Project Management ~ $400,000 construction
cost.

Rick's Kicks Maitial Arts Stcdio, Frlsco, Texos - 5,000 sq. ft. martial arts
studios, offioe, video room, and other amenities - stone / brick veneer,
wood frame, steel support, wood lateral resistanoe, concrete foundation -
Areh_itectural Decign, Produotion, and Management, Struetural
engineering Design, Produetion, and Mgmt. - $550,000 construction cost.

The Ballpark in Arlington, Arlington, Texas - $ 191 million structure steel
framed, masonry veneer, concrete foundation - Architectural Constructlon
Admlnisn‘ation, Strnctural Engineering revisions during construction

Governmental Design:

2010

Munlclpal Doslgn:
20 l 0

2001

Red River Anny Blast Booth, Texarkana, Texas - 10,000 sq.ft. blast booth
for equipment repair and cleaning - Suuctut'al Enginoering Dosign and
documentation - $800,000 construction cost,

City of Richaodson Fire Station, Riehardson, Texas - 2,500 sq. ft. metal ,
storage building addition to existing tire station - Aiehitectural De¢ign, ,
Constwotion Admlnistxation, Slruet\n'al Engineering Design and
Doeumentation - $75,000 construction cost

Southern Hunt County Community Center, Qu.inlnn, Texas ~ 9, 800 sq. ll.
steel framed, masonry exterior - gymnasium, recreation areas, l<itchen, and
offices - Architeomral Design, Production and Managoment - $880,000
construction eost.

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Case 7:15-cv-OO465 Document 1-2 Filed in TXSD on 11/06/15 Page 16 of 55

I’r'oject Rlsurno . .

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BR Architects, Inc.

December 2013

Page 6 of9

1999 Richar'dson Sonior Citizcns Center, l{ichardson, Texas - 3,000 sq. ii'.
addition, 12,000 sq. ft. interior remoch and finish out - Arciritoctural
Design, Managomcnt and Construction Administrai;ion ¢ $900,000
construction eost.

LEED Projects (ln Progress):

Green Projects:

2008 Fort Hood Farnily Housing, Fort l-lood, ’I'exas - 8,000 sq. fl. Commnnity

Conter - single story LEED Silvcr- Stmctunrl Enginccring Design,
I’roclnction1 Construction Administration, LEED Consulti:og - $1,500,000
estimated construction cost.

2006 McKinney Aoro County Airport, MoKinney, Tc'x.as - 6,300 sq. lt. interior
finish out f rernodol of existing county airport into weekend residencef
office - Architecturai Design, Production, Construction Adrninisnation,
Various Stnreirrral Bnginccring Design and Docornontation - $530,000
construction cost. '

2006 Colorndo Blvd. Residcnce Rcrnodoi f Addition, Dallas, Tcxae ~ 5,000
sq. it. rernodol and addition - wood 'i`ranied, concretelbrick foundation
early i9|l0’s residence design by rcnowned Louisisno architect -
Architcotural Dcoign, Structurai Engincering Dcsign, Docurnontotion, and
Managemont - $630,000 construction cost.

2002 Cristlna‘s Flowers, Plano, 'I`exas - existing horne addition f conversion to
l0,000 sq. l’t. flower distribution and retail- Arolritectrrral Dcsigo,
Produotion and Corrstruction Adrniniatrstion - $600,000 construction cost

Restnm'ant Dcslgn: !

2007 Pizza Hut - Frisco Soecor & Entertainment Complex, Frisco, 'I`exas -
6,500 eq.ft. dining, kitchcn, test rooms, and other orncnitioa - Project
Msnagonl<mt, Strnctnrol Engincering D'esign - $550,000 construction cost.

2003 Cheddars Restaurant, Arlington, Texas -- 11,500 sq. it

dining, ldtohen, ofticc, rest rooms, and other anrcnitics- steel framing,
load bearing CMU, spread and continuous footings, stone veneer - Project
Ma“%il°m¢m. Stl"l°flli'al EREi“@ll’il`lB DCtliBn ~ $1.0 million construction
oost.

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Case 7:15-cv-00465 Document 1-2 Filed in TXSD 0n'11/06/15 Page 17 of 55

Project Rosurne

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December 2013
Page 7 of 9

1999

Chucltie Cheese Restaurant, Burnsville, An'zona -» 11,000 sq. ft.`
dining, lcitchen, ofi"ree, rest rooms, and other amenities - Project
Management, Struetural Bngineering Design - $1.0 million construction
cost.

Multi~family Design l Management:

2007

2007

1997

1996

Religlous Design:
2000

TownPatc Apartment Complex, Amarillo, 'l‘exas -~ 150 units, 270,000 sq.
it. apartment complex »- Structural Construetion Management/
Observation - $20 million construction oost.

CityParc at Goldon Trlangle, Fort Worth, Tcxas - 312 units, 370,000 sq.
ft. apartment complex - Structural Construction Managcment/
Observation - $30 million construction cost

Arbors of Denton Aporiment Cornples, Donton, 'l`oxus - 244 units,
180,000 sq. ft. apartment complex - Arclritectuml Dcslgn1 Production and
Management - $9.8 million construction costa

Hol)by l'lousc Apariment Comploa. Austin, Tcxas - 200+ units apartment
complex - Arr:hitcctural Dcsign, ?roduotion and Managcmont - $8 million
construction cosr.

Crosspoint Churclr, McKinney, Tcxas - 20,405 sq. ft. worship center -

_ classroom spuco, kitchen, and support spaces with phased muster plan - ,

2000

2010

Educatioual Deslgn:
2003

1998

Ar'chitectural Design and Construction Adrninistration - $2.5 million
construction cost.

Christ Unlted Methodist Churclr, Plano, Texas -- 30,411 sq. ft. classroom
education building with support spaces - Architectural Design and
Construction Administration ~ $3.3 million construction costa

Trinity Prosbyterisn Church, Plano, Texas - wind storm damage / steeple
replaceth - Architecurral Design, Construction Administration, and
Struci'ural Engineering - $50,000 construction cost.

K. B. Pollc Elementary School, Dallas, Texas ~ 35,000 sq. ft. classroom /
office addition - concrete and masonry construction steel frame roof,
Arohitcctural Design » $3.5 million construction cost.

Brownsville l-ligh School, Brownsville, Tcxas -- 70,000 sq. ft'. education
building -stcol i`rarne, CMU non-load bearing wolls, concrete foundation -
Structural Engineoring Design »~ $6 million construction cost.

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Case 7:15-cv-OO465 Document 1-2 Filed in TXSD on 11/06/15 Page 18 of 55

Project Resume

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Decem’oet‘ 2013
Pagc 8 ol" 9

Medlcal Design:
2006

1997

1997

Iutorior Rcmodci / D`esign:

2010

2007

2002

2000

l~lcslt_hy i=sws Veterinaty Center, Liltie Elm, 'l`cxas - 1,600 sq. il.
veterinary exam rooms and offices to an existing 4,500 sq. it. veterinary
exam room building, wood frame structure ~ Architcctursi Design,
Documentstion, Structurai Enginecring Design, Documentation,
Construction Aclministrstion ~ $250,000 Construction Cost.

Aubum Medical Oi`fice Building, Auburn, Washington - 70,000 sq'. ft.
office building for physicians, reinforced concrete and CMU structure -
Structural Engineering Dcsign - $10,5 million construction cost.

Bristol Ilcgionsl Modicai Ccnter, Bristol, TN - 100,000 sq. ft. medical
facility rcmoclci, addition - Architcct, Consttuction Administrator - $9.8
million construction cost

Grconfioi_tl I~`ooso office tomoch Dallas, Texas -» 25,000 sq. i`t. building
foot print with 6,000 sq.ft. ’1'.“‘1 i'loor interior remodel of existing metal
building space into ofiice space - Anchitcctutai floatgn1 Produclion,

and various Structurai Engineoring - $1,300,000 estimated construction
cost.

RoughRiders Merchandisc Pavilion, Frisco, Tcxas - 4,000 sq. it. interior
finish out of existing spscc into retail space ~ Atichitccturei Design,
Production, end Construotlon Administ_ration - $340,000 construction cost.

The Centrc for Dance, Richardson, Tcsns - 10,000 sq. ft interior t`mish-
out ofcxisting office space into dance studio, oflicos, kitchen, rcauuoms -
Architoctural Design, Produccion and Consn'uction Adminisnstion -
$300,000 construction cost.

Rsndstad North America, Fsrmcrs Branclt, Toxas - 4,200 sq. ft oft`tces,
testrooms, conference tooms, interior finish out - Architeoiural Dcsign
and Consuuction Administration - $180,000 construction cost.

Exterlor Remodei_ / Dosigu:

2007

Oalleria North, Dallas, Texas - 70,000 sq. i"t. floor area exterior veneer
redesign- At'chitcctutal Design ~ $1.5 million construction cost.

Various Uniqne Arcliitecturai & Strnctural Design:

2007

' Routli Sttcct Winc Coltsr, Dailss, Texas - 450 sq. tt. undergmund winn

collar - Suuctuml Engincering Dcsign, Documentation, ann Managemont
~ 3100,000 construction cost.

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Case 7:15-cv-OO465 Document 1-2 Filed in TXSD on 11/06/15 Page 19 of 55

Project~Resurne

Brsdford R.usscli, AIA, P.E,

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Dccombor 20 1 3

Page 9 of 9
2006

2006

2006

Watermark Lancl Deveiopment, Wylie, ‘I`exas - 500 i`t. - Entry water
Fcatur‘o - Structurai Engino`ot'ing Design, Documentation, and
Managcment - $800,000 construction cost.

Hiitorr Tulsu Southem Hills, Tulsa, Olcialroma - 2,500 sq. ft. -~ pool
enclosure addition to existing concrete structural frame - Str‘uctural
Bngineering Veriiication, Design and Managerncnt - $100,000
construction co st.

Res`iclential Excroise Pavilion Saudi Ar'_abian !’rincc, Dallas, Texas - 500
sq. t`t. addition - wood framed structure over concrete foundation built into
hillside - Architectur'al Dcsign, Structurai Engincer'ing Design,
Documcntation, and Marragornerrt - $130,000 construction cost

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Case 7:15-cv-00465 Document 1-2 Filed in TXSD on 11/06/15 Page 20 of 55

  
    

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ARCH “rsscr
sth warns

 

August 27, 2015:

1. Ncg,ligcnoc:oi`}\rchitect

"H`aving reviewed documents applicable to the rehabilitative and lie-adaptive construction Project
(‘”F-,STEM”), Phase l and Phase II ct Memorial Midcile S.ehoiol campus in Phurr, Te'xas, (iis_t of
documents reviewed attached hercto)`, l note the ‘t`ollowi'ng:

The Snmdord of Can oi"ttn architect is established by the contract documents between the Owner
and Architect, Stsndcrds established by authoritics', and ordinary degree oi" skill and care that
would be used by other reasonably competent practitioners of the some area under similar
circumstances ln this cose, the duty o't‘ care would be implicitly molded by the Fact that the
contracts address rcr-adaptive end rehabilitative work which would involve demolition on a
building in which is historic '.in nature

,As identified in the AIA Doc'ument 13141-~ 1997 Part 2 for this project, the following excerpts
are taken, followed by specific sections, to demonstrate areas where the Stsnd_ard of Cnre' was
not metz

§2.1.1 The Architicct shall manage the Architcc`t"s services and administer the Project The
Architect shell consult with the Owncr, research applicable design criteria, attend Project
meetings, communicate with members of the Project team and issue progress reports The
Architcct shell coordinate the services provided by the Archi-tect and the Architect’s consultants
with those services provided by the Owner and the Owner"s consultants

‘... research applicable design critoris,...v The Archi_tec_t` shell coordinate the services
provided by the Architect end the Archi`tcc`t’s consultants with those services provided by
the Owner and the Owncr’s consultants.’ ` .

§2.3.1 The Arohitcet- shell provide o preliminary evaluation of the information furnished by the
Owner under this A-grccment, lnoluding the Owner’s program end schedule requirements end
budget for the Cost oi` the Work, each in terms oi` the _other. 'i`hc Architcct shall review such
information to ascertain that it is consistent with the requirements of the Project end shall notify
the Owner of any other information or consultant services that may be reasonably needed for the
Project

"Fl`he Archltec't shall review such information to ascertain that it is consistent with the
requirements of the Projcot.,.’ '

§2.3.3 The Architect shall review the Owncr’s proposed method of contracting for construction
services and shall notify the Owner oI` anticipated impacts that such method may have on the
Owncr’s .p_rogram, tinenciul and time requirements, end the scope of the Project

°...the Owner of anticipated impacts that such method may have on the Ownor’s
program, ilnnnci`al a_njd_ time requirements and the scope of vthe,l.’i_‘o_jeot,’

§2.4.4.1 The Ar-o_hit`c`ct` shall provide Construc_tion Doouments based on the approved Design
.Deve_lopment Docum_e'nts and updated budget for the Cost of the Worl;. The Construoti'on
iDocumcnts shall set forth in detail the requirements for construction of thc Project. The
Constru'ction Doouments shall include Drawings l¢u:xd Specii'ications that establish in detail the
quality levels of materials and systems required for the Project

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Case 7:15-cv-OO465 Document 1-2 Filed in TXSD on 11/06/15 Page 21 of 55

Architectural Standard cf Care

PHARR-SAN JUAN~ALAMO Independent School District
PSJA

Pharr, Texas

Page 2 of 5
August 27, 2015

‘...provide Construction Documents based on the approved Design Development
Documents and updated budget for the Cost of the Work. The Construction Docunients
shall set forth in detail the requirements for construction of the Project. The Construction
Documents shall Include Drawings and Speciiications that establish in detail the quality
levels of materials and systems required for the Project.'

§2.6.2.1 The Architect, as a representative of the Owner, shall visit the site at intervals
appropriate to the stage of the Contractor’s operations, or as otherwise agreed by the Owner and
the Architect in Article 2.8,' (l) to become generally familiar with and to keep the Owner
informed about the progress and quality of the portion of the Work completed, (2) to endeavor to
guard the Owner against defects and deficiencies in the Work, and (3) to determine in general if
the Work is being performed in a manner indicating that the Work, when fully completed, will be
in accordance with the Contract Documents. However, the Architect shall not be required to
make exhaustive or continuous on-site Inspections to check the quality or quantity of the Work.
The -Architect shall neither have control over or charge of, nor be responsible fcr, the
construction means, methods, techniques, sequences or' procedures, or for safety precautions and
programs in connection with the Work, since these are solely the Contractor’s rights and
responsibilities under the Contract Documents.

‘(2) to endeavor to guard the Owner against defects and deficiencies in the Work. ..’

As identified in the Secretary of the Interior’s Standards for Rehabilitation of Historic
.Buildings (reference attachment following), the following excerpts are taken, followed by
specific sections, to demonstrate areas where the Standard of Care was not met:

Protect and Maintain:

‘Although a historic building will usually require more extensive work, an overall
evaluation of its physical condition should always begin at this level.’

Repair:
‘otherwise reinforcing or upgrading them according to recognized preservation methods.’
Assessment Phase:

The Architect’s work deviated ii'orn the Standard Form of Agreement Between Owner
and Architect and acceptable standards, as referenced above and set by Sta'ndard of Care,
in the practice of architecture in the following respects:

(i) Failing to undertake/require reasonable testing to determine existence/condition of
moisture barrier between foundation and soil, which was evident in previous reports
which Architect requested and had access to;

(ii) Failing to address lack of moisture barrier in designs;

(iii)Failing to undertake/require reasonable structural testing of structural elements

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Case 7:15-cv-OO465 Document 1-2 Filed in TXSD on 11/06/15 Page 22 of 55

Architectural Standard of Care
PHARR~SAN JUAN-ALAMO lndependent School District
PSJA

Pharr, Texas
Page 3 of 5
August 27, 2015
Phase 1:

The Architect’s work deviated from the Standard Form of Agreement Between Owner
and Archit`ect and acceptable standards, as referenced above and set by Standard of Care,
in the practice of architecture in the following respects:

(i) `Failing to consider the impact and risk of structural damage of demolition Work in its
designs and specifications for the construction project;

(ii) Failing to request and follow through with the general contractor/demolition
contractor to develop a specific plan containing means and methods for the
demolition (even though the contract between Owner and Contractor so provided)

(iii)Upon failure of the general contractor to develop a specific plan containing means
and methods, permitting the contractor to proceed With demolition

ln reference to the above noted sections of the AIA Bl4l and appropriate Guidelines, given the
existing condition of the property such errors and omissions constituted the direct, proximate
cause of Plaintift‘s damages, including the collapse of a portion of the East Wall and second
story floor in the Main Building and resulting damage to the West Wall and support coiunins,
and other structural damage to the building

Phase II:

The Architect’s work deviated from the Standard Form of Agreement Between Owner
and Architect and acceptable standards, as referenced above and set by Standard of Care,
in the practice of architecture in the following respects:

(i) Failing to conduct reasonable investigation of the conditions of the two buildings
(Stambaugh Building and Textbook Storage building) before inducing the district to
approve the plans and specifications and award the construction contract;

(ii) Failing to determine existing conditions of the two buildings rather than relying upon
unreasonable assumptions while preparing plans and specifications for
rehabilitative/re-adaptive use.

(iii)As chief advisor to the District on design and construction issues, advising the
District to proceed on a course of action without having made an adequate evaluation
of existing conditions, knowing that the District would necessarily rely upon the
Architect’s representations

In reference to the above noted sections of the AIA B141 and appropriate Guidelines, given the
existing condition of'the property such errors and omissions constituted the direct, proximate
cause of Plaintiff’s damages in Phase ll of the Project.

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Case 7:15-cv-OO465 Document 1-2 Filed in TXSD on 11/06/15 Page 23 of 55

Architectural Standard of Care

PHARR-SAN JUAN~ALAMO Independent School District
PSJA

Pharr, Texas

Page 4 of 5
August 27, 2015

ll. Damages
Phasel

As a result of ERO’s negligence as discussed, it is my opinion that the following damages to the
building resulted:

1. Basement F|oor: the district was required to replace the initial flooring at an estimated net cost
to the district of approximately $60,000. l have relied on the measurements and calculations
contalned in Agustin Rodr|guez's report.

2. The remainder of the damages in Phase | attributable collectively and in part to the architect's,
the structural engineers and the contractors negligence Whlch we have identified so far are
represented by the following change directlves and change orders as set forth in |Vlr. T. June
l\/le|ton lll's report. '

Given that these changes Were for the most part changes, fixes or additions to the structural
elements, I have deferred to Mr. Melton to address those changes and resulting damages from a
structural engineer’s perspective

Phase II

As I have indicated in this report, the District was entitled to a more thorough assessment of the
"conditions of the Stambaugh and Textbook buildings before the architectural designs were
completed Failure of that assessment and investigation resulted in the failure ol" the assumptions
which the Architect made. I have not addressed the difference in cost to the District of the
construction work at two buildings based on the Architect’s initial plans and those resulting from
the change orders l have reviewed the reports of Mr. Agustin Rodriguez and the appraisals of
lt'ene Thompson and have had discussions with Mr. Rodriguez regarding both his report and Ms.
Thompson appraisals lt is my opinion that the methods used by both of them to arrive at their
conclusions of cost and value are reasonable

Mr. Rodriguez’s report provides the square footage costs for live new buildings of a similar
nature constructed by the District. In each case, the cost per square foot was less than the per
square foot cost of the Stambaugh and Textboolc buildings The result of the added cost to the
District resulted from changes that were never anticipated by the Architect during the design
The result was that the district ended losing the use of two buildings which Were readapted at a
cost which would have allowed for the construction cfa new building

lt is my opinion that the fair market value of the two buildings is a reasonable damages model
that indicates the probable loss to the District.

See report of Mr. Agustin Rodn'guez and appraisal reports from Aguirre & Patterson, pertinent
results summarized beiow:

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Case 7:15-cv-OO465 Document 1-2 Filed in TXSD on 11/06/15 Page 24 of 55

Architectural Standard of Care '
PHARR-SAN JUAN-ALAMO Independent School District
PSJA

Pharr, Texas

Page 5 of 5
August 27, 2015
High School Construction Cost Phase I:

Review of construction cost as.reflected in the following documents revealed the following
opinion of the costs shown: '

Research by Mr. Agustin Rodriguez:
Phase 1 - Basement Cork Flooring: $14.13 / sq.ft. ($60,985.08)
Phase ll - Textbook and Stambaugh Buildings: $193.35 / sq.i’t.
Appraisal Report prepared by Aguirre & Patterson Inc.:
Phase II - Starnbaugh Building: $353,000.00
Phase II - Textbook Building: $430,000.00

III. Negligence of Descon Defendants

There are certain standards and safety protocols applicable to construction projects that involve
demolition Additional circumstances, including the structural integrity of a building and its age,
could impose an additional duty of care on the demolition contractor to take affirmative action to
avoid damage to portions of the building not scheduled for demolition and other collateral
damage

lt is my opinion that, given the age and structural integrity of the building, the demolition
contractor was negligent in the following respects:

l. Failure to inspect and test the structure before proceeding with demolition;
2. Failure to develop a demolition plan;

3. Failure to seek review and approval of demolition procedures by the Architect and
structural engineer;

4. Using unsafe and impractical methods of demolition, including failure to provide support
to portions of the structure not designated for demolition `

Respectfully,

B`r diem usseli, AIA, _P.E., sEcB

Architect/ Structural Engineer/ LEED AP
Director ot`_ Architecture / Engineen'ng
BR Architects & Engineers

 

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Case 7:15-cv-OO465 Document 1-2 Filed in TXSD on 11/06/15 Page 25 of 55

"l`hc Secretary oi" the lnterior's Standards for Rehabiiitation & illustrated Guidclines for R... Pa.ge l oi"¢i

     

bi|itating Historic Buildings
introduction to the Guide|ines

The Guidelines for Rehahilltating Historlc
' Buildings were initially developed in 1977 to help
' property ownersr, developersl and Federa|
._ ,. managers apply the Secretary of_ the |nterlor's
` Standards for Ftehabiiitatton during the project
»' planning stage by providing general design and
, technical recommendations Un|ike the Standards.
the Gu|dellnes are not codified as program
` ‘_-. requirements

 

 

 

 

 

Together with the Standards for Rehabiiitation they provide a model process
for owners. developersl and Federai agency managers to follow.

The Guideiines are intended to assist in applying the Standards to projects
generaiiy; consequently, they are not meant to give case-specific advice or
address exceptions or rare instancesl For smarnp|el they cannot tell owners or
developers which features of their own historic building are important in
defining the historic character and must be preserved-although examples are
provided in each section-or which features could be aitered, ii necessary. for
the new uss. Thls kind of careful case-by~case decision-making ls best
accomplished by seeking assistance from qualified historic preservation
professionals in the planning stage of the project Such professionals include
architectsl architectural historians, historians. archeoiogists. and others who
Thos@ approaches, are skilled in the presentationl rehabilitationI and restoration ofthe historic

treatments, and PFOPS"|€S~
techniques that are

°°“Slst°“t With the The Guidellnes pertain to historic buildings of all slzes, materials occupancy,

S°°'°tafy °f the and construction types; and apply to interior end exterior work as well as new
'“te"'°" 3 exterior additions 'i‘hose approaches treatmentsl and techniques that are
Standards f°" consistent with the Secretary of the |nterior‘s "Standards for Rahabilitation" are
Rehabi|ifafion are listed in bold»face type under the "

listed under the

--Re¢ommended" Recomrnendec|“ section in each topic area; those approachesl treatments
Secti°n in each and techniques which could adversely affect s buildings historic character are
top|¢ area listed in the "Not Recommended" section in each topic area.

To provide clear and consistent guidance for owners, developersl and Federa|
agency managers to follovv‘ the "Recommended" courses erection in each
section are listed in order of historic preservation concerns so that a
rehabilitation project may be successfully planned and completed-cna thatl
tlrst, assures the preservation of a building's important or “character-definlng"
architectural materials and features and. second, makes possible an efficient
contemporary use. Rehabilitatlon guidance in each section begins with
protection and maintenance that worl< which should he maximized in every

http://vvww.nps.gov/tps/standards/rehabilitation/rehab/guidc.htm 8/27/20 l 5

 

Case 7:15-cv-OO465 Do'Cument 1-2 Filed in TXSD on 11/06/15 Page 26 of 55

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The parallel "Not
Recommended"
area lists the
types of actions
that are most apt
to cause the
diminution or
even loss of the
buildings's
historic
character.

http'.//www.nps.gov/tps/staudurds/rehabiiitation/rcl'lab/guide.htm

project to enhance overall preservation goals Next. where sonia deterioration
is present, repair of the building's historic materials and features is
recommended Finaily, when deterioration is so extensive that repair is not
possibie. the most problematic area of work is considered replacement of
historic materials and features with new materials

To further guide the owner and developer in planning a successful
rehabilitation project those complex design issues dealing with new use
requirements such as alterations and additions are highlighted at the end of
each section to underscore the need for particular sensitivity in these area s.

How to Use The Guideiines

identify, Retain, and Preserve

The guidance that is basic to the treatment of
ali historic bulldings-~idenrifying, retaining
and preserving the form and detailing of thos
architectural materials and features that are
important in defining the historic character--is
always listed first in the "Recommendsd"
area. The parallel "Not Recommended" area
lists the types of actions that are most apt to
cause the diminution or even loss of the buildings's historic character. it should
be remembered however, that such loss of character is just as often caused
by the cumulative effect cf a series of actions that would seem to be minor
interventions Thus, the guidance in ali of the "Not Recommended" areas must
be viewed in that larger contextl e.g., for the total impact on a historic building.

 

 

Prctect and Niaintain

After identifying those materials and features that ere important and must be
retained in the process of rehabilitation work, then protecting and
maintaining them are addressed Prctectlon generally involves the least
degree of intervention and is preparatory tc other wori<. For exampie,
protection includes the maintenance of historic material through treatments
such as rust removal, caull<ing, limited paint removal, and rea-application of
protective coating; the cyo|ical cleaning of roofgutter systems; or installation of
fencing, protective plywoodI alarm systems and otherternporary protective
measures Aithough a historic building will usually require more extensive
vilorl<l an overall evaluation of its physical condition should always begin at this
|eve|.

 

Repair

Next, when the physical condition of character~delining materials and features
warrants additional work repairing is recommended Guldance for the repair of
historic materials such as masonry, wood. and architectural metals again
begins with the least degree of intervention possible such as patching, p|ecing-
in, splicingy consolidatingl or otherwise reinforcing or upgrading them
according to recognized preservation methods Repairing also includes the
limited replacement in t<lnd»-or with compatible substitute material--of
extensively deteriorated or missing parts of features when there are surviving
prototypes (tor example, brackets, denllls, steps plaster, or portions of slate or
tile roofing}. Aithough using the same kind of material is always the preferred
optionl substitute material is acceptable if the form and design as weil as the

8/27/2015

 

Case 7:15-cv-OO465 Document 1-2 Filed in TXSD on 11/06/15 Page 27 of 55

"i"hc Secretary of the lnterior's Standards for Rehabilitation & Illustrotcd Guidolines for R... Pzigc 3 ol"¢l

substitute material itself convey the visual appearance of the remaining parts
ot the feature end finish.

 

Repiace cwa mens aaa mere
Fo||owlng repair in the hierarchy, 'Io Swwlr nor wiy,, ..=r -.;.sg.m,.iusm.
guidance is provided for replacing an r
entire character-defining feature with
new material because the level of
deterioration or damage of materials
precludes repair (for exampie, an
exterior cornice; an interior staircase; or
a complete porch or storefront). if the
essential form and detailing are still
evident so that the physical evidence can __
be used to re»establish the feature as an "
integral part of the rehabilitation projeot, ' ' ' ' '
then its replacement is appropriate Like the guidance for repairl the preferred
option is always replacement of the entire feature in kind, that is, with the same
materla|. Because this approach may not always be technically or
economically .feasibie, provisions are made to consider the use of a compatible
substitute material

   
 

-v__¢_~» .-_,d §

lt should be noted that, while the Natlona| Parlt Sarvioe guidelines recommend
the replacement of an entire oharacter~defining feature under certain wel|~
defined circumstanci=\,sl they never recommend removal and replacement with
new material cf a feature that~although damaged or deteriorated ~»ccold
reasonably be repaired and thus preserved

 

Design for Missing Hietoric Features
When an entire interior or exterior feature is missing (for example an entrance,
or cast iron facade; or a principal staircase), it no longer plays a role in
physically defining the historic character of the building unisss it can be
accurately recovered in form and detailing through the process of carefully
documenting the historical appearance Where an important architectural
feature is missing, its recovery is always recommended in the guidelines as the
` firstor preferred course of action Thus. if adequate
G-H-TE MSTEMNGS historical. pictorial, and physical documentation
‘If exists so that the feature may be accurately
` " reproducedl and if it is desirable to reestablish the
feature as part of the buiidlng's historical
appearance then designing and constructing a new
feature based on such information is appropriatel
However, a second acceptable option for the
replacement feature is a new design that is
_ _ . compatible with the remaining character-defining
- - features of the historic building The new design
should always take into account the size. sca|e, and
material of the historic building itself and, most importantlyl should be clearly
differentiated so that a false historical appearance is not created

    

 

A|terationslAdditions to Historic Buildings
Some exterior and interior alterations to historic building are generally needed

itttp://www.nps.gov/tps/standards/rehabilitation/rehab/guide.htm 8/27/2015

 

Case 7:15-cv-OO465 Document 1-2 Filed in TXSD on 11/06/15 Page 28 of 55

The Sccretary o‘l"thc lnterior's Standards i."or Rchabilitation & Illustrated G'uidelines i"or R... Pagc 4 o'l:`¢i

to assure its continued use, but it is most important that such alterations do not
radically change, obscure. or destroy character-defining spaces. materials
featuresl or flnlshes. _

Aiterations may include providing additional
parking space on an existing historic building site;
cutting new entrances orwindows on secondary
elevations; inserting an additional iloor; installing ,
an entirely new mechanical system; orcreating an . - .,
atrlurn or light we||. A|teration may aiso include the = _ - - `
selective removal ot buildings or other features of
the environment or building site that are intrusive
and therefore detract from the overall historic
character.

 

The construction of an exterior addition to a
historic buiidlng may seem to be essential for the
new use. but lt is emphasized in the guidelines that such new additions should
be avoided if pcssibie, and considered oniy after lt ls determined that those
needs cannot be met by altering eeocndary, l.e.. non character»denning interior
spaces |f, after a thorough evaluation of interior solutions an exterior addition
is still judged to be the only viabie alterative, it should be designed and
constructed to be clearly differentiated from the historic building and so that the
character-defining features are not radically changed obscured, damagedI or
destroyed

Additions to historic buildings are referenced within speciiic sections of the
guldetines such as Slte, Roof, Structursl Syetems. etc., but are also considered
in more detail in a separate section. blew Additions to l-listcric Buildings.

 

Encrgy EfficiencylAccessibi|ity Considerationsli~lealth and

Safety Considerations

These sections of the rehabilitation guidance address work done to meet
accessibility requirements and health and safety code requirements; or
retrof|tt|ng measures to conserve enorgy. Although this work is quite often an
important aspect of rehabilitation projectsl it is usually not a part of the overall
process of protecting or repairing oharacter~deiining features; rather, such
work is assessed for its potential negative impact on the bullding's historic
character. For this reason, particular care must be taken not to radically
change, obscure, damage, or destroy character-defining materials or features
in the process of rehabilitation work to meet code and energy requirements

 

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Case 7:15-cv-OO465 Document 1-2 Filed in TXSD on 11/06/15 Page 29 of 55

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- __'architeow\iailetructuralicivil engineerian design firm engaged in commercial industrial and '
`.rosid_aiiiiql building s_\`n`c_i__ site design, general ocn'su_ltin

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Case 7:15-cv-OO465 Document 1-2 Filed in TXSD on 11/06/15 Page 30 of 55

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.- _ genans|'_ scmln_ietrstion'. contrast negotiation, personnel controi, lleld coordination inspection and
- safety_eva|uat|ons.' ' . ; _ “ 1 '

. _ 11!8`_2 ,-3!84 - Dsllv'isc Deve|opmsnt Corrlpsny, Da|iss, Teiie_e; Vlce F_'resident and lCEO lof
` Dallvlac Res`idsntlal Davslopmsnt Corporatlcn in charge ct _acqu|rlng developsb|s land for _ ‘
_;-spartn‘ient end condominium projects in the Ds|iss arsa. Respons|b|l|t_las- lnclui:lad general _ 1 .
_adrl'iiriisti'ation.-contractnegotiationl civil engineering analysis of. proposed land acquisitions,_and' ,
structural engineering evaluation of existing apartments and condominiums proposed for = ` '
acquisition ; ` _ ' ` '; - '

-' .9/75 -;9/84 -_Pr_esident; T.-,l; Melton, |l| &-Aesociatos,,.|nc., Mld|an`d, .T.exas, a civil/structural
_ fbu|ldrdesign` flrm. Structursl engineering projects included Westgats Buslne_ac Parl<~ (cl’flces and l
. '. ~warahouses), medical facilities oilfield structurea,'in_surance officcs,-retaii.centars~, .hotsis`,
' 1 '_ schoois. churches and lange r=eisldcnc_:ssl C|vi| engineering projects included .Wa,s_tga_te acres : .
.' rosos, utlitias end drainage and al large water-recreation psrk. ' Corr_ipany closed in 1984 due-to '~
overall decline l|n oil-related `|Teilas-ecerior"ntl- '.Wol'ksd 'fuli tlrnc from 9175 to 11!82; oart- time from
.11_/82 to.3/84,"and full time from 3I84.to 9184.

-. . lil?o- -' 9175 - Project engtnecr; Bryant-Curl'ngton. Ccnsi_.iiting'Eng|nears; Austin, TX; Project . - -
-' design engineer for expansion -to-stls Wster.Treetment-Plant; prslln'rtnsrjil studies of .Onlon `
C_raait Sei.vage Treetmont P|_ant; and various subdivision road, bridge and drainage projects
Responsibilltis_s' included esuctti_ral design of clarlflers, filtrationt chemical buildings and _
laboratories and essocisted'civll dealgn`-of.road access parking'_and drainage'fscilities. _ . _ 1~

- 5170 v 9i73 - Gre_'sven-& Stcoitje, Consuitlng Eng|nssrs;~Austin. TX; :Protect structural .
~ . ~desig'n._snglneer for various projects including elements schools al Brsirsr l`.-sne, Ru`ndburg Lsns
- and Austin. Higl'i Schooi; Wster Rescurces Stete Otrlca u_liding,. Travls County Courthouse Anriex
and P_srl<ing_§tl`arsge', Un|varsity oijsxse R`eg'ents Building. various Univ'ersjity or Tsxa'c buildingsl
smaller office and retail buildings and Llniverei of Tex_aa e`f the Fer`n"ilen Basiri_. Rssponeibl_lltiss
included full charge design, coordination-cf drs ing and some project inspection lDevciopad _
computer connors for building analysis Buildings varied in size from single story to ti.ireive-stor;r
structures.. ,'- - - , . -' _'- . ` . 1

9/68 '-’- 5/70'- Siruotural~Enginesr", Eugene Wuk'asc'h _8. Associ_stes'. Aus_tin',‘ TX; Design _:
_ engineer iri-charge of working drswlng preparation coordination between various design - '
: professionals field inspection and client negotiation lfor denous b_ul|dlngs, including retail facilities
apartments churches, moblis_homss, mobile schools and various-projects fortna Corps‘of` .
` Engln`eere. l\ll[iitar-y projects included aircraft hangers and offices commissary expansion and ‘
WAC'bsrrscks-et Ft Ssm.Houstc_n.end Broolts AFB.. _ ~ _ --

10!8? -'9.~‘58 -» Asscciate.Eng|noer;' Fiuor Corporsticn, Houston,;-.TX; Proj_ed engineer -inj '

` charge ot structural design of.petroci'iernlcsl facilities including buildingsl trips support structures _
and toui‘idationiiil sn`cl civil design cl drainage psvement'end wastewater collection 'and disposal '
Responslbiilttsc included directing-s team of engineers involved in specialized design _ot steel and
concrete tower structures for wind-and earthquake loadings. C|ients included Texsco and '
Petrotisx Pstr'oieum Cor_np_any.';liv|ost projects exceeded $5 million in;.c'cnstruction val'ue.

_ 8166_- 1018? -,St`ructiirsi Desionsr; Brown~& Root.,lnc.. Houston, TX. 'Des|gn engineer'c`i'f
domestic foreign and offshore facilities_lnciuding:do_ck_s, warehouses petroleum facilitiesl drilling _
pletfor,'r,ns,' and government liuliciingii'l Mu_o_li' of the design work performed during this period
encompassed numerous_cmsiier components of larger structures such ss specialized design of_
concrete retaining wallet column and composite beam design. buck||ng and fatigue analysis or
structures subjected -'to'lmpact from ilcatirig vessels and-ice flows and specialized steal 4
connection -deslgn.' illicst projects were undertaken in a team-effort atmosphere Gil'snts includedl
Gslgyf Chen:lic.al Companji._and"Nakcosa Edwards Company. ' . '3' ~ 1

 

 

Case 7:15-cv-OO465 Document 1-2 Filed in TXSD on 11/06/15 Page 31 of 55

1185 8!66.- Stpdent; Unlverei_ty of Texas; Austin. TX; Wori<ino_ toward Mesterof Science
degree in Architecturai Engineeni ng. Worl_<ed es a teaching eesietent_' in the Depertnmnt of _ _ l
Dralting. . _ _ . . . . ‘

8/63 9/63- Structural Draftsman; P.reston lvi. Geren Architect-Engineer; Ft. Worth, TX;
Dutiee included structural drafilng and minor engineering catcuiaiiono. Projecte included various
office buildings and high schools Structural experience included elementary steel connection and
base plate _dasign. concrete footinge; concrete elab on grade; suspended concrete channel floor
ayeterne; and masonry load bearing weil enalysle. Other duties included coordination between
structurei end architectural documents end checking of chop drawings for various projects

' 6!61- 8/61-- Rodrnen; Texaa i-iighway Departmen't; Midland TX; Surv_eyor duties\ including
1. quantity lakeofls and measurements soil teets; surveyor calculations end dutiee.

.. . 9180- 1165- Btud_enl; Univereity of Texea A_ue'tin, TX; Working toward Bache|or of S`ci_enoe
-- degree in Arohlieotural Engineering .

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_ Melth "Btrlicldrea video Sern!nal" 1933 thru 1997.
Melton "When t`he_ Bo_ugh Breelre'. Building Failures end the Structurei
_ . Englne`ellng Exp'ert" -'~ 1989; workboolc-_ revised 1996. '
. Melton- “Faliuree of ln-Senrioe MPC Parall`ei Chord Wood Fioor Truea Comporienta
, Revea| Del|ciencies in ANSUTP| _Stenda‘rde» -2000
Melton - '-’AD_A-AIE Tit|o ill Deolgn V|cleo Sernlnar", 1994.

 

 

 

Case 7:15-cv-OO465 Document 1-2 Filed in TXSD on 11/06/15

'4 THOMAS‘JUNE MELTON. i|iPAR'-l'iAL PROJE'CT LiST|NG v '
lNCLUD_iNG AMSTAR ENGiNEERiNG PROJECTS '
_ _(Signifi_cant projects listed on|y_) _ f

The following partial listing reiieote lhe types of projects
for which T-homa'e Jun`e iVleiton. Ii| hen provided engineering
eervlces: ~

FOR AMS’[AR ENG|NEER|NG:

A-1 Fire iii Beo_urity Foundetion l Drainage Evaiue_tlon- Weoo
A-1 Rentai Store`- Aue’tin .-

.Academy Surpiue Founoiationl'i'iiiwalilFraming- Austin

6903 Ageve_ Cv-. Piumbinglstructurai- -Au-otin

A|rcrait Sceffolding-- -San Antonio

Airpoit Marrlott iiiiezzenine- Aueiin

Aiamo Bueineee Cen'oari'Cinr Pari< Buried Utiiities investigatione San Antonio _

American Fr`eight` Drainage Aneiy_aiei' Dr_ainege_ Uti|iiliaa-- S_cheriz, TX . 4
824 Ange| Lig`ht'-_- Lel<e Travie ' -'
Appieh'ead Cove Repair_e~ ~Horeeehce B_ey, T~X
-Applled Materia_ia Austin ' ' :
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' 5325 Texa`e B|uebeli Window Leel<agei'$ite Drainage- 5picewood, T_X
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-4805 Brcok Greeit Gove Foundaiion investigatlon- -_Aueiin .
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Brldge` Parliai Coiiapee |mr. -'i-iwy 518, Shreveport. LA
- 603 B_uil_Creek Stabilizatlon`- Austin-
,1441 Buli Horn Loop Fcundetion/Drainege - Rcund Roci< , -
'. Builch -,Sendra 2601 River H|iie Road Muiti-Dernege investigation- -Austin
-_ 4500 Bunny Run Slmcture- Austin ' .
.'~ 7304 Bumef Rd Fire Demege inventigei|on- -Auetin
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1109 C&D15112 81. Structurail Foundetion iDreinage- Houston
Cem|no Reai Aparimente Canopyi‘Struotur'e/Hezerde- Austin

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Page 32 of 55

 

 

Case 7:15-cv-OO465 Document 1-2 Filed in TXSD on 11/06/15 Page 33 of 55

. 4300 Cenoae Roof, Framing Austin
' ' 2400 Canoaa Drive Structure- Austin
240 Gantertiury TrueelEeem Deticienolee- Dripglng Bpringa, TX
221 Canyon Treii Swimmi_ng F'ooi Anaiyele -Austin
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_ - Ceder Park Communitleecreationai Center Steire and Raiie- Ceder Park .
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' '2714 Oe_dar Springe Freming!Foundation)'Drainagelittoieture investigation - Rou rid Rock-
Centercourt Dralnege- -Auet|n
Centax Retain|ng Weii Coiirapeo inv. Rivanniet!Wal|er Ranch- San Antonio
Gnainsaw i\iiaeoacre Movie Set Struotural Aneiyeia- -Austin '
8450 Chelk Kncii Foundattoanoo| investigation -- Auetln
5904 Chaiit Kncii Drive Firepiaoalchimneyiwater intrusion lnspection- -Auetin
26935 Chepman Fa|ie Foundoti'on i Dre|nage lnv- Ricin`mond. TX '
Chaee Apartmente Ro_ct! Stru`cturel 1 Moieture Aeeeeement~ ~Auetin
Ci_ty- -'C`ourity Jaii Ciklahomtl City, OK
-City National Bani<- Auslln
Gity Park Recreeticn Building-- -San Memos
9403 Ciean‘ecit Adciitiona- Austi_n
Cote Bapt_lat Church Rcof Truee Failurelin]ury -__ancanvi|ie ,
Coll_ege i.-louee CoOp Reheb Austin
Col|ege Parit Shop_ping Canter Kiileen
ZCoiorado Building improvements- -Auetin
» . Gommadore River_bont Huil Repaire- Aueiin _
111 Congroe'a Sign- -Auetln
C_ongreae Ave. iiiiinl Storege Fire Darnege Inveetigation -Auaiin
continental Construotion Ceeino Dalay Damegea Evaiuetion- Aiebama
. _Convenience Stcre Canor>`y- -Fredrlckaburg .
` 2205 Conwey Cove Framing Aesesemeni P_tiugenrilia
. 'Copperae Cove .ir. H|gh Connecti'ona Copperes :Cove _
- 225 Gorinihian vaimming P.ooirSeptic Sye’oern investigation Lakewey
Ocrnett Roof Truse Failurei_ln]ury- -Aueiin _
Ccrrldor Pari`< 5`~ Cort Furni_ture- Aueiin
- 2150 Gottonwood Cneek F.oundationiPooi Aeeeeerne_nt- Auaiin
_ t_'$otiiver Rd Septic Syaterne- -Austin
` 517 Cove_ntry Fte`eidentiai Dealgn- -Auetin
' . . Crlne Manbasket- Austin
' , '2905 Creeite Ed Paritwey ititasonry Repairs- -.A_uetin
- '911 Cross Wind nveetigation- -Auetin
Croeaiend Econorny Studio~ Auetln -
pr rees Semioonductor lmprovements- -Austin
DART City Flaoe- De||aa '
. DAR`:|' improvements _-_Daiiaa
_Daya inn- Diamcnd Bar CA'
‘Deen Witter Slgn- -Auetin
5212 Decicer Lane Slte Da_mage Aeeesement- Austin
.Defeb Wo'od Trues Defect. investigation- -Wv
`Delatte Moblle Home iiiloiatura lntrusion.~'$ti'uolurai/Ventilatto_nIPiumbi_ng-. _Louisiana

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Case 7:15-cv-OO465 Document 1-2 Filed in TXSD on 11/06/15 Page 34 of 55

Denver Pavilione Shopping Conter ~_Denver, CO
De_partrnent of Econornio Seourity Weet -‘ Phoenix, AZ;
:Ditim_ar Lumber'Warehouse - San Antonio
- ,Does Road -Westewator System - Travis Co\inty
12506 Dover` Drive. Niontgomery, TX _(Chaprnen)
Downtown Triparty Bridge- San Antonio. '
Duska Swimming Pooi- Aueiin ‘
q Dutchmen‘ a ivieri<et _Freezer Building lnvestigailon- Fredericksburg
Duva| County Courihoueo Water |nt'rusionlSupe_retruoture/Civii - San Dlego. TX
- 421 Easl 8‘“ ADA lsaue- Auet|n
805 Eaet 32“" Si_ iiiiedicai Ofilc'ee Foundation/Piumbing- -Austin ~
#13 Ehriich Poo|/Retain|ng Weil Repaire- Aue_tin-
' Educare Hous|ng- -Austin
Eieiey Library Door _Acci_dent'- Lincoin, NE
El Monterrey Apartme'nt Foundation |nveetigetion- -Austin-_'
Engineering ethics opinion letterl (conildeniiel)
Encyoie Texee Pient Diemantie |nveetigetion- -Corpus Chrieti
_ _ 12405 Enfieid Weterproci’ing end Drainege investigation- -Austin
- »Enterteinment & Sporte Arena- Reietgh. N. C.
Ee'cei_e Apartments- -R_etal'_nin`g Wali Faiiure l Dra|nage -Auetin '
Eether"e Foiiiee Expaneion- -Aueiin
;`122_10 Feirheven Foundation )'- -Drein`age inv- -Nlontgomery, TX '
' FarWe'etSkyiine Conciomium Rehei`:- Austin '
101 Fewn Meedow Repairs- -Auetin . `
- 101 Fawn Hoiiow Bracing, Windowe, Foundation issues - Dripping Springe, TX . '
‘ . FDNS Medica| Building Therma| Berrier l Vi_nyl Materlaie _tnveet!g`aticn- --New Bmu'nfe|e
FDNS Meciicei Building Therme| Berrierl vinyl Materiais investigation- -Seguin
101 Firebird PooiiW_eii -Auatin
121 Fireblrd St.- Roof repaire- Lakewey, T-X _ _
Fiemingo Cantlna Cenopy 81 Mezzanine Austin
Fieetwcod Subriivialcn Memoriai Dr Fiood IWater Barrier Drainage |nvestigation- Houeton
F|ower Nicund High Schooi Lewievitie iSD We’rer Discharge- -Fiower Mound', ;TX
Fo`reet Creei< Aeriel Cl‘oeelng- Ptiuger.vi|ie
'Foreat Creeir Retelning Weilicuiverte- Piiugervi||e
;Foreet Oa|<e Waetewater Wetw`eii Cadar Perk
- . Ft. Biiea_ i-.ianger Door investigation - Ei Peeo
304W. 4thst- Auat|n -- ~
807 E.14th St Condo Building Water Peneiratlon/ Structural- Austin ~
Foundation)'Supere'tructure Anaiyeie- Primery Schooi- -Eagie Lake
, Foundation Anelysie 11520 Lcweaweter- Auetin
509~521 Frenkiin investigation- -Weco
2800 .French Pie_oe DreinagaiStructura| lnveetigation- -A`uetin`
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'-Frutt-O-Loom Siipi'Faii investigation- -.`Hariingen, TX
Fuiites Middie Schcoi- Beam Conneotione_- Round Rock
Gabiee at Barton Greek column Repeir- -Austin
"Geiierie Oake Shopping Ceniar inves!igeticn- -San Antonio
1205 Gattie` Schooi Road Pevement Aeeeearnent- Round Roci<, TX
' 11001 Geteway Swimmin`g PocilFioodlng/Dleinage- Aue_tin
Generei Meil Feciiity- -Bryen -
'Generei .Te_iephone &. Eiectrio- irving
Georgetown Jet Additlon- ~Georgetown TX
42 Governore Court Siructurelii-'lre tnepectlon- -Auetin_
_ _Greoe i.utheren Chunm- Wimberiy
,.Grand Ce`sino- Tunica, Ms.
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Case 7:15-cv-OO465 Document 1-2 Filed in TXSD on 11/06/15 Page 35 of 55

97_14 Grend Oake i..ow Speed Car O_raeh- Struc_tur_al Damage ~_Au_aiin
_Grenite Ciuarry Plant Werehcuse- Austin

Grepevine Market- Austin

Greethouse Eiementary Pietforms- Mldiand

Greet|en'd Office Park' improvements- -San Antonio

i-'lacl<berry Convenience Store Canopy- San Anton lo

Habitat Viitege lnveatigation- --Austin

Harbor C|rc_ie' Sv.rimn'ilng Pool investigation- -Geo`rgeto.vn '

'Harthan Houe`e Apertmente (Hietoric)- -Btabiitzat|on and Reslructure- Austin
Heriman Poet Houee- Lei<e Trav|e .
He_tc'h/Carr/Aehcreek Structurei investigation Austin
Headquartere Bid'-g Kirtiand AFB

. 20?0? Henry FiooriRcol' Decking investigation- Lego v’|e_ta\ TX`

Hl_gh Drive Foundath Dlepute Reeoluiion- -Lago Vieta
nghcreetAparimente Drainage t Trueeee- San iiilarcoa, Tx
i-il`ghway 290 W 330 Bliiboard- Auetln

Hiii Country Apertmenl FirelFineplece Damege Inveetigatlon- -Sen itierooe. TX
i-I|ill Country Apertment Foundation lnveetlgation- -Sa'n Mercoe. TX `
Hilton Hotei Woocl Truse Deiect Aeeeaen"ient- Oitiahoma Clty, OK
Hoffbrau ReataurentAddition Austin

. Ho!idey inn Seie`ct L-cop 410 Reiaining WailaiPorte»Coohere- San Antonio
Hol|day inn Select Canopy Wali - San Antonio, TX
Hoiiornen AFB F11?A Maintenance DcckeiHangare- -Aiarnogorde\ Nivi

_ 5212 Hoiioway Reeide'ntiai FoundationiSupereiructure Deme_ge Repeir- -Auatin
Holiywood Vidao inapection, 1050 135- George`town
i-iorizoniWamer Brca. Sound Stage 3 & 5 Structura|- A‘uetln. TX

'Horaeehoe Casino F'eri<ing Garege Stairs- Boeier Clty,LA

'i_-iorseahoe Gaeino Stair-'i`ower- Boaie_rGity. LA
Hunter Conetructton C_o. Steei Building Fire lnveetigeticn- -New Breunefeia

. Hurr|cane KatrinaiRiia Damege Eva_iuations- 11115, LA. TX

'12343 Hymeadow lnveatigetlon- -A'uetln
5505 |-iwy 200 Suiernic Eveluetion- Austin
ingi'e_elcie Fleet lt'i!i_ihe Canter .lngieeide

'lngleeide Viiiage_ Aparimente - ingieeide

- international Ce`n_ter forTr_acle Trues Connectione- -Eeg|e Pees 'i-'X
J. G. Penny Wali Coliapee- .Daiiae '
desirer Esiatee Oceanqueet: Pool inveetigation Auatin

-Jo`e'e Creb Shecic Reataurent Code Vinletione_ l Hezarci Ana|ys|s- i-icueton

' . J`oneetown Lighihouee Lake Travia _
125 Kittie Lane Foundation l Dreinage- -Three Rivera,- TX
19 i<nob H|ii Circle interim Deok Repeir- -Austin

Knox OSSF Feaelblity Study'- -Auatiii
l<nucitieheade- Austin _

l.e|<e Creek v'iiiage Shopping Center Auan

' 54?5 Lakeehore Di'ive Roof Asaeeement- Lago Viete
24714 Lel<eaida Cove Structurei inapection- -Auetin
L_aitewey Church Feiiowshtp i-ieli- Lakeway ~

.5505 N. Lamar Fire investigation Austin

v 10517 N. Lemar- Roof Btructure Repair- -Auetin
160? S. Lamar- Auetln -

Lamer Oraton- 'l'ruee Coiiapeei injury- -Aiabama

Lenahlre D`upiex Sta|r Co|iapea investigation- -Auetin
Laite Austin Riverboat Docitlng Facl|ity- -Auetin

' _Lai<e Trevie Lighthouee .ioneeicwn, TX _

La`i<e 'i`ravie Poet Ofiice- Lai<ewey
480?_ l.eite Wichita Foundation il Drelnage inv.- Ric_hmond_, '_lX

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Case 7:15-cv-OO465 Document 1-2 Filed in TXSD on 11/06/15 Page 36 of 55

1010 N. i..'amar RoofNVaii Restru_cture- Austin
1420 N. i_.B,i Dr VibrationiEnergy investigation San Marcos
. . :1050? Legande Lana Fiium`bing: L'aak Damage- -Austin .
- . L'ewiavliie iSD Schooi Construction Deticiancy Evaluaticm- Lawis_vii|e
, ngh'i Bar Addition - Austin '
' 145'1' Littie Bear Foundation E\'iaiuation- -Hays County, TK -
LoLa Co`nvaieacent `Clr. Rdof Co||apse`i investigation.- -Auet|n
Lockheed Ma|ntemanoe Facliity- -Aust|n
';Lockheed Miasiie Mezzanin_e Austin
Log Cabin StructurailFoundétion- New Mexio`o
13916 Lone Rider ~'i'rati Truases- Austin ~ `
"2_401 Longview Phl Kappa F'sl Tamporar? Struoture Ausiin
;L`ouls|ana State i-.iighway Timber Bridga Coiiapae LA
- . ' 116_20 Lm'i‘aswater Drainagélstruciurai- -Auati`n
Luis Faii i' injury l Rouf Frar_ning f Fasienaro issue- Hqu_sion
506 W. L-ynn Concio'a investigation- -Auatin
M`cCracken Pooi 'i.`ruaaes Austin
McCreary County USP- Kentucky
' 202 E. Main Reataurant Fire Damage Rapair- -Reund Roci< '
.Maimin Struoturai Damaga_ Assessmant Fiooding_iDrainageiUli||t|es- Austin
Mmda|ayicircus Cimus ADA Showar Seatiln}ury lnvastigaiion- -MS
Man:ia Faiis Quarry Oii`ice Building Marble Faiia, TX
, ` ?’1‘| Mnmh`ali. St. Foundation )' F_rarna investigation- Hciua£on.
, 519 Marinar Sb'ucturaliFoundatlon investigahan- -Raund Rock
' 703 Maine l.r`i Lightning Darnage Asseasmen_t- Houston
' M'asonry C'oiurnn Goiiapse |'nvest|gat|on- Hou`ston
2518 Methewa B'aiqonies l Boat neck »' i-ieiicoptar. Pad inv ~Austin
Maxweii Gar We.`ah- Tay|or
Maxwei|; -Wastewater- Austin ,
Meadowbrooit Gardans Apar-tmants Designsiinspectlons- Cec|ar Pari<
`Meadowiakes Shupplng ¢enter- Marbie Fa|is-
Medi¢`:ai Center Autornatic Door Cioser Accident- Bentonviiie AR
. Me'mor|a| Baptiet Church Trusaan- Kiiieen
_, 'Msnard BiFo|d Door Aocident investigation -Janes\_riiie. W|
'~Mazzaiuna Nor\h- Austin l
_ Micron Devicaa Saiamlc- Uiah ' ` ' -
310 Mitchaii Foundation l P.lumbing:'- -Weatherford TX - '
Missisaippi interstate Bnd'ge Oo||apse- -MS
2004 Mlstywooci Residanliai Rapalrs- -Austin
Mon'ow Roof Member Coi|apaa!Fali -» Birmingham, AL -
205 W. Morse MolammiMnidetorm thowo- Freder|cksberg,` TX
352 Mostyn Ln. Foundation 1 Fr-arning Evaiuation- San Marcos
Niotei 6 Beiconyi$tairs Restructure- Amar!iio
- Motei 6 Baloonya'Stairs Résiructure- 5010 N. 135- Austin
Mote| 6 Hurrioano ike Damage Evaiuatian i Reconstructlon - J'ersey Vi|i'age_. TX
Motei 6 Hurrlcane Katrina Damage_ Assessment- Bi_icxi, wis
M_otei _6 N. iH35 Additlons- Auet|n .
Motai 6 Walkwaysf$tairs- -KSTopeka*
Motei 6 Struc_turaifc|iiil Evaluation- -Camp. Springs, iViD
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iiiiSi Sth Expan_ai'on - Ky_'le
'Mt. O_iive Lutheran Church Addn. Austln
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' -Nioss C ..J C. -.Okiahorna City, OK
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Case 7:15-cv-OO465 Document 1-2 Filed in TXSD on 11/06/15 Page 37 of 55

'. ' N.A.S. Commissary. - Kingsyiiie
- ‘ Néi|is AFB Compoaltie Faciiity- Lae Ve_gas, NV
;New Eiitch Ga_rdens Them_e Park- Denver, Co.
413 New Ledo Swimming Pooi investigstion.- -Austin
New Lexington Fayette County Detention Center- Lexington, KY
New T:erritories Sh'opping Genter investigation- San Antonio ’
_1211 Newton _/Austin Moiei Reta|ning Wsil Co||spae Rep`a|r Anaiysis.- -Austin
' 19 Nob Hili Cli"ci'e Structutal Expansio_n Study- -Austin
-North H|gh Schooi- Gan'o|ton
' North Hiiis :Townhouse Foundation investigation - Austi`n
North Lamsi’/Kramer |-.'ane .Warehouses - Austin ~' .
~ 'North Park Hotei Fire/FirepiacefTr"ues Repsirs- -Austr'n
. 1210 Nueces- V_eneer/ Deok/ Sta_ir Repairs-' -'Austin ~ ' ' . ,_ . . .
. 250 Oait Heights Banier Dra|n- -_Wimberiy . ~ ' . ' ; : _ ; . ' .
' Oak Kncii Résidentiai Foundations~ San Marcos ' ~ ` z ` ' `
~_ -Oak\yood Schooi anases- -0011eige Stétion
. 10507 Oas!s Foundation Fa|iuro inv_. INegotiation- Houaton
4502 Ocesn Drive Sh'ucturallventiiation Assessment- Corpus Christi,' TX
Olii‘ieid Road Hwy. intersection Accident.f .Dra'inagei Non- Lioensed Engineer.- LA
_Gid Lockhart Hwy Mobii Homs Perit- Travis County
' 'Oiivanez Subdiviaionn.it\|itioai$treet CoRapsa investigation- -NicAiien '
~ Oitort Oak_s` Apartments Chimney Fire lnvestigation- --Austin
. y ' One_Corporate Centerlnvestigatton ~Austin
' . Ons`Liberty. Plsoa. improvements - Wsoo
One Teoh Piaza.-'-Austin
. Oyster Landing Boat Docks- Austin
-Pa|etane Grooery- -Truvts County .
P£rim Vaiisy Re'taih Stucco i Substrate- Round Roci<
Ps`n_iagua 'i-`russ Col|apsai'injury.- _Phoenix. AZ _ _
12502 Panr Art Studio- Austin
' Park Cent_ra_i Apartments Stair' Faii inv.- Da'lias
5105 Peaoh`trse Hili Gt Drsinege l Foundation Damage- -i<ingwood
2212 Paan Fire Damage inapaction- -Auatin
540 F'soan Grove E_ioat Dooit tmprovemento- -Horses`hoe Bay ,
PenbrooicApsrtments Maaonry Veneor Rep`sirs.- -Austin
- Penhrooit Ciub Apartrna_nts Buiidin`g 6 Breezewsy inspectiona- -Aust1n
.i. ..C Psnny Bri'ok. Vsnasr Wali Cotiapse- -Dsi|as .
. ` Petia Maravioh Assarnhiy. Center invastigstion~ -Baton Rougs, LA - '
1 Point Ventur_e Townhouse Niuiti Building Struoturai Asssssmsnt Polnt Venwre. TX
Preoiaion Nations| Stn.rcturai lnvsstiqat|on- Waoo - ~
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Rayoo Fire Rotsrdant investigaqu Sa-n Antonio '
RCBS Hospitai H'v'AC ! Contract |souss- Austin
v _ . 1913 Real Gatoroe Foundatlbnm“‘ Fioor F_nar-n|ng Repsirs- -Austtn`
Reoreatioh Sports BuildinglA&MiWindow Wali Goiiaga Ststton -
-Rad Rob|n Restaurant-Nr QuaiinMoistureiRoofiwai| Leai<s- San Antonio -
" Regan'oy Manor Apartmanis Struc:tural Wa|lrway Repidoemsnbs`~ -San Antonio
Régentn S'ohooi Watsr. intiustonnNood Fioor Dama_ge investigation- -Auatin
5510 Resesroh Psrkirrg Lot invasit'gaiion- -Anstin
12034 Rasearch High Sp_eed Vehioie Coiitslon VibrationlEne_rgy Damage Assessme_nt- Ausii_n
Retano Wastewater Systism- -Austin ,
2516 Ravsre Townhouse_s Foundation 1' Suparsiruotura inv. ~Houston_
. 1913 Rio Cstoroe TJi Fioor JoIat investigation- -Austin .
._ River Authority Conveyor San Antonio ' .
l 5500 R‘rvsroi'est Boat Dock Feaslbiiity Study- -Aust|n

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Case 7:15-cv-OO465 Document 1-2 Filed in TXSD on 11/06/15 Page 38 of 55

`2311 .Rogge Ln Swimming Roo|.Leak!Foundation Aseeeement .- Austin 1
_Ron'e C`eilphone 160 Ft. Guyed'Tower » Barton Creek, Austin -
:Round Rooic Exprees.Beeebai| Standeii-'tel|e_ - Round Roci_< .
Round Rocic Expness GabteeiStructl.lra| Designs - Round Roci< ~
Round Roek E>cpreee Su pports - Round Rock
10713' RR 620 Roof Assesement - Austin
_j1230_1 Seber Treti'WInr_i Loed Stabiitzation--.-’Auettn
- y `Sa_m` Baee Road Conote_t'e Pavament.Ana|ysie=_- Round ;R'o'ci;, TX
-Semeung U.' Projeotl Beam Conn'ec`tione - Austin ' ` '
San Antonio .Houeing Authorlty v. Magi Reeity '- litigation 150 +-Housee -rSan.Antonio
2200 Sca'ntc'Boat Dooi< Repaire - Austln ~.
10020 Soe_nio"Ooite Trei|-Fiood -Anoiyeis - Buda. TK
Schneider Manuiactured Home investigation - La- Grange, TX
- _Saqretatiat_ Maeo'nr'y Aroheleralnage - HayesiCo., TX` ‘
Sege‘lieid:[)r.alnage Study z;Auatin ‘ `
- l6'100:Sitaciov."iiir:u.mtain Stru¢turai Repairs ¢-. Au'stin; TX
- Sherper image Mezz_enlne -'Auetin , '
Sheraton Hotei P`arking Garage Repalrs - Austin
Siiv'er Fine Pooi - Austin . .
.`Slrnp_iex.`Grinne|i Struoturell Eve|uation -- Pfiugerviiie. .TX~
. `Sir i1`ror` t‘lovel Swimmlng_Pooi Eve|uation - Austin.` TX
~419 E. S`ntih St. Second Fioor Rehab - Austin
421- E. Sixth St-. 'ADA |nvestlgat|on.--Austin .
500 E. Si>ith-Rehab - Austin
-eoo-E. e‘“ Flre-Eecape eastmaer ~ Austm
.505 E. ain Struoturai investigation v -Auetin
- '515 E. Sixth Root' Framing _-'-Auetin '
`6_00 E. S|xth Roof & 25‘°' Fioor Framing Eva|ua_t\on -'Auetin
.723-?25 E. Sixth Rehab - Aue`tir_l
10211 Skyf|owar Fioor_Stabii|zat|on - Auetin
-'Sityiight Accldentei Breaitage)'Faii i injury - N|iosi'on, TX
- Skyridga Piaze Structurai inspection - Rou ndeock, TX
_ ,South Grend Pra|ria'.ngh Sohooi - Grand Prairie ,
_ 329 South-Guat_iaiupe Water intrusion - San Marooe
Southiaite Shopp[ng C'enter Staire '- Southia|_<e, TX ' _ -
South|ake'isubdivie|on Saniia!y Sewer Co||apea - South|a_ke; T.X
_ .120’801101 N|ain Roof Dra|nageiesue-Victoria . ` .. ._,.
f-South Texas Ai't Mueeumf- Structurai Eiarriara 1' A'DA'J injury - Corpus.Christi»
Southweet Meciicei` Park'- Austln ' 4
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Souihwestarn University Fine Arts investigation - Beorgaiiown .
Sp`endFabOreto Tiit Wali investigation - San Antonio _ ~
. 702 lE?,prin;;Brooit WeteriFioor Truee Damage - i.eander. 1
fSt. Paui'e Catholio Churctr Add|tion.- Austin , "
_Bt. Pete Timea Fonim.i°trena Concre'te Toieranoee Evaiuat|on szampa Bay, FL - 2
'#10 St. Stephene-Pooi investigation -` Auetin' - ' :~ ’ '
B_tair'end Guardra`i| Designe - Sheppard AFB -
Et`. -Stephens Sonooi. Ciuinn _Hai| Adci|tion - Austin
1 _ Steh_|-Rooi' Condition Aeeee'ement - Austin . . ` 4 _
.Steyton Water Dernage'- i-iarciwood Fiooring.iPiumbing /-HVAC Spe'c. Niediation - Viotoria .
`St`eok Veughn F|oor Struoture investigation ~Ausiin :' ' ' ,, _ _ -
_ 119 Stephene Lene Window-Leai<aga investigation ~ Ro,und Rock
' Stop_and Go Boat-Storage inspection - Aueiin
Studio 8 Motei Sam Houston Par|<way FoundationIF|oo'ci|ng/Piumbing - Houston
Stum L-edcier Faii investigation - Ariington `
5353 Sugar i-iiii Foundation -I. Swimming_Pooi l Dra|nage investigation - Houeton .

.10

Case 7:15-cv-OO465 Document 1-2 Filed in TXSD on 11/06/15 Page 39 of 55

 

 

Surjnmit Apartmsnts Wood ;Bsioony investigation - San Niarcos,"i'X _
_Svmmit at West Rim Foundation - Austin- - j.

;.Sun 1Oii lEr'iiiii Pipa Rat:k - Houaton `

~ Stinciiaee Condoe investigation -`Aust|n
Sui‘iohase.tinit 102 - Austin ` ,

Suntish Waetewster System improvements - Austin

-Sunnyvaie Conciorniniums Repiacement Steirs - Austin-
Superatruoture Ana_iysie Fiiverview Aparimsnte -'iiiaw'Orieens. LA
Superstruoture Anaiyaie S_hadowiake Apartmsnts' ~ `Jefferson Par|eh
TAMU Reoreaiion Sports Building`- Coiiege Stat|on _
_'i'ex-a`e' Departrnsnt oi' Eaniting -Structursi investigations ~_ Austin
r-Terras `Department oi'.Oorreoiiona -.-Abi|eno .

'-i'e)rae liiieparti'nent of Correotions Aiberti unit - Ai:||ene"'

Texa_s Department of Correotior_rs.- Beaumont

Texes Dopartment of`Gorreo`tions '- Beeviiie

Texae~i_Jepartment of Oorrect|one - Ei Paso-
Texae.Depart_ment-ot Corrections - Gsteeviile

Teicss Degartment oi`Corre_ctione - Herrie Co.

Texae. De'psrtment oi'-Corraotions - Hutohins-

'Tex'as Department ot`Baneciions - Liherty. C'o.

'T_sxas Department_oi't:orrections » iiittohe|i Co.

;Texes Department of Correotione - New'Boston
Texao Dapa`rtment of_Gorreotione - P|sinview
Texae Depart'ment of-Correolione -.Wiohita Fa|ie '

Texaa `Depanment ot.Correotione ~ Karnss County

_Ts>tse -Deparirnent'ei‘ Cnrrectione Tower- - -Amarilio . -

_- Texas Depanment_oi’ i-ieaith Laboretory Stsirei'Gusrcirsiis - nuetin _
'i`exae Land _& Csttie Co. Reetaurant Fire investigation - Fiiohardson, TX

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Case 7:15-cv-OO465 Document 1-2 Filed in TXSD on 11/06/15 Page 40 of 55

' 1802 Vance Circie Drainagei Foundation Defiotencles- Aueiin
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Avetsx Food Prooess`ing F.aoiiinr- -Auetin
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'B_&R instrument Buiiding- -_Houston
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- `Brown Distributin'g Company_ improvemenie- -Auetin‘
Brown Resid`enoe- Ni|diand
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Case 7:15-cv-OO465 Document 1-2 Filed in TXSD on 11/06/15 Page 41 of 55

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'_ ~Cepite| _oi Texss F!isza Ston'n Stmr:_turee- Austin
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1 'Chandier Building`- Austin '
;Ch`ariie' s Liquor Store and Warehouee - Austin
z Ctreriton Rsncn Fa'oiiitiee - Brewater County .
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Crescent Pia_ce- M|diand
- Gmee-Town Sewsr interceptor Austin
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'Dairy Queen! N. Lamer- Austin
. Davenport Hesidenoe Midisnci .
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Case 7:15-cv-OO465 Document 1-2 Filed in TXSD on 11/06/15 Page 42 of 55

'Garden- Cit`y Hwy. @ FNi_715 Wareh'ouse- Mici|and
' Gar_y Job Gor`pe Csn_ter- San Marcoe
»Gettis Schooi Road Conv. Store improvements- -Round Rock-
_Geigy Chemiosi Corporetion- Louieiana
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. - Gienwioit Aper`trnent Convereion+ Univsreity Park
Giiii Steakhouse!Congrees Ave.- -Austin
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;Goooh Residenoe- Midiand ,
' Grandview Warehouse- Odessa -
Greenvii|e Ave. Condos/Aper_tmente- R-ichardeon
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- Henderson Warehouse- Midiand
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. 'i.-ack|and AFB Feoiiitiee- San Antonio . 1
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_ Laugh|in AFB Air Reeoue Opns. Bidg.- Dei Rio
Le_nghiin AFB Shop Aircrs'fi Bli:ig- -Dei Rio
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' Le\vis Sign_ 00 Signege- -Austin -
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206 Main Building- -iv‘iiciienci
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Case 7:15-cv-OO465 Document 1-2 Filed in TXSD on 11/06/15

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' North Austin 'Junior Swimming Fooi- Austin
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- Petro-Tex Neopnene Pient- Ho_tiston
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1 'Pia:e Shopptng Center Signage Midiand
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Page 43 01 55

 

 

Case 7:15-cv-OO465 Document 1-2 Filed in TXSD on 11/06/15

- akillern's Drug Store - Mldland
S|e_dge Res|dence - M|dland
Sn`\lth Resldence~- Mldland
Smlth Building ~ Mldland-
Smlihv|||e Landf|i| - Sm|thvi|le
South Austln Fire Station- Austirl
1006 South B|g Spring Addn. -'Mid|and
' 'Bp|ce)wood Wastawater Treatmenf Plant- Austin
Stephen_son Warehouse- M|dland
Sundae P`a|a!lqe- Austln
Sunshlne Camp- -Austln
Supe'rior 011 Buhdlng |mprovements Midland
Sutton Place Condominlums- Nlidland
'Texacp foshore'Drllllng Platforms - Houston _ _
T_exas Department of Health and Mental Re't_ardaiion~ Austln _.; _-~
'_ ;Texas Department of Human Resources- San Antoni'o -. ,.. `
Thaxton~Couluer Mohile Home Park Wastewater Utllitles Trav|s Coun_ty
_ `-Thomuson Towrihbuses- Mid|and
; Tlmberlin'e Terrace Off|ce B_u|ldihg-- Austln
- Town 81 _Country Day Care._Fac`ilH|es - Austln
Trav|s County Blood Bank' - Austln
Trav!s County Courlhouae Annex - Austin
Trevls County Courthousa lmprovaments- Austln
Travfa County Goumouaa Pndoatr|an Brldga- -Austin
Tr_avis County Park|ng Garage Aust|n _
Tr'avis Straat Low_ lnooma Houslng- Mld|and
Treanor Equipment Co. lmprovemehts- -Nild|and
' Tres Amigqs R`estaurant- Austin '
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_' Union Hail Baptlst Church Addn Libarty H|||. TX _
- Un|on Toxas Oil Co. Exiraotlon P1ant Ge|amar. LA -. `
_ Unlted States Embassy Guya_na
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University 01 Texas Regan£s' Offlce Bullding-- Austin
- Uhivarsli;y ofTexaa Harry Ransom Center- Au`st\n
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University of Texas Swlmmlng Faclilty- Austin
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Wash|ngton.iMchNay St. Warehouses- Midiand
- Water Line U.‘d|ity improvementa- -Martlnda|e
' Water Tower'- Nlortinda\e
Wate`r Tower Renovation- Midland
W`eath`erford. Landf|l| -. Buda
- , Weetern Sizzler Steakhouse- N|id|and
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-Westiake High School lmprovements Austin
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11

Page 44 of 55

 

 

Case 7:15-cv-OO465 Document 1-2 Filed in TXSD on 11/06/15 Page 45 of 55

'Wiid River Canyon Park- Mfdland

Wi|aon Building Mld|`an'd

-Wlhdmlll_ Hll| Apartme`nts- -San Antonio .

thaton Sw|mm|ng- Pool Faclllty- Midlahd

`fWo`odiands Btraet._ Br\dge 81 Dra|nage Facl|ltlee »-' Wdodlands ;
Yancey Raoldence- Mldland

\'. W C. A_. tmprovements.- Rlchardson

Young Vehicle Storago Faciilty- N|idland

Zo|ler-Reeidenoe-' Mid!and '

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Case 7:15-cv-OO465 Document 1-2

Filed in TXSD on 11/06/15 Page 46 of 55

 

AMSTAR ENGINEERIN.G, I`NC. Reglstorud Profes¢lonal Englneers
Structural/Civil Consultanis mae oklahoma Arlma
707 Rivel' Road Lo_ulsi_ana G_¢orgi_a Colorodo
Austin, ’I`exas 7873.4 mssimppi- man Norch earning
(512) 263-3661 f ` Kootucky Alabama : Ar|mnm
Fax (512) 607-6641 nm mm F-lws

August 28, 2015

i\`/lr. Chuy Ram|rez

The l`. Rarnirez La`vv` Firml

E_b_o`ny Pari< Estates B`us1ness Cen`ter
Suite B

700 North Veteran' s Blvd

San Juan, TX 78589

Ref: Pa\"r San Juan` `A1amo independent School District v. Descon and ER_O

Project No. 2067

dear ivir. Ramlrez:

_ in early Aprll, 2015, you contacted this office about a matter involving a school renovation

project that had been undertaken by the Parr San juan Alamo independent Scho`o| District
i(“Dist_rict"). at the Mémoriai Midd|e Schooi campus The renovation had included work at the
campus Main Building A portion of the Main Building had collapsed as a result of the means
`a_nd method5 of the general contractor »~ T:e_xas Descon L. P (“Descon"). :Reportec|iy no one was

injured

_ The l_Viain Building had consisted of two floors and a partial basement of vacated
j administrative and classroom space On the date of the collapse the structure was almost 100
years old. Y_ou advised that during the renovation project and initial demolition of a small "lini<"

; structure adjacent to the Main Bol|ding, `a portion of the Main Building had collapsed

110 lntroduction

/

" About Februar'i,rl 2008, the governing board of Pharr Sari .luan Alarno independent School 1
District had authorized conducting a preliminary investigation and assessment into the
feasibility of upgrading and/or renovati`n`g existing structures at the District’s Memoriai i_\/lidd|e
Sch_ooi campus in Pharr, Texas. One of the buildings considered for renovations and/or
upgrades was a three»story "rnaln building" constructed in 1915 or 1918 with subsequent
remodeling and/or additions in 1976 and 1986.Oti-1er buildings considered for renovation

 

Case 7:15-cv-OO465 Document 1-2 Filed in TXSD on 11/06/15 Page 47 of 55

included a building used for textbook storage and a building used as a band hai|‘~l both originally
constructed sometime in the 19110’$.

Ultimately the District chose ERO internationa|, LLP ("`E,RO"‘) of Nch|len,'Tex'as to serve as
project architect. An Owner Architect AiA contract was signed on or about Decem ber 15, 2008.
ERO executed another contract dated approximately May 26, 2010.

The structural engineer chosen for the Main Building complex was Frank Lam & Associates,
inc. ("Lam") of Austin, Texas. The agreement between ERO and Lam was signed on or about
Septernbe_r 8, 2009.

Since there was an indication that the Descon might haile overcharged the District for
reconstruction costs,' you and l discussed the damages methodology that could be utilized Vou
had available in hand the change orders that the contractor had generated around the time of
the collapse incldent. The contractor had submitted the change directives and change order
requests to the architects ERO. ERO had processed the change order requests through the
District The District in turn had routinely processed the change orders, depending in part on
the District’s belief that ERO would carefully review them for accuracy and reievancy, and also
depending on the representations of two independent engineering firms.' in addition, there
were numerous "c_hange directive's" which were afforded to "allowances" in the contract

The other engineers, Mr. Frank Lam oi- Fr`anl`<_ Lam & Associates, and iVir. Bruce i. Morris, PE
of Rirn'kus Consulting G_roup, inc. ("ernl<us"), had conducted on'-slte inspections of the collapse
damage and had written reports. Both Mr. Lam and Mr. Morris wrote their reports i`n a manner
that led the District to believe that the damage area was a small segment at the west end of the
iNlain` Building that had actually collapsedl without going into any detail of other areas damaged
as a result of the collapse at other portions of the building structure 1

ivlr. iv_iorris had written that R|m'kus was retained to determine the ".lirnits" of intended
(demolit|on) work that was to be performed by the contractor and to determine the extent of
damage to the building outside of those limits as a result of work being performed by the
contractor.

A table of damages`, based on the change orders, is attached at the end of this report. A_iso
included in the tabie, unrelated to the collapse, are charges pertaining to water intrusion that
the District had to absorb by the failure of ER_O and Lam the structural engineering firm
involved in the design aspects of the renovation

1.1 Pur`pose` and scope

The purpose of my investigation was to attempt to identify the potential cause of the
September 22, 2010 collapse and the building structure collapse mechanism, and also

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Case 7:15-cv-OO465 Document 1-2 Filed in TXSD on 11/06/15 Page 48 of 55

determine the extent of the damage area. Unllke the investigation and report of Lam and
lekus, my investigation shows that the damaged area encompasses'the entire i\/iain Building,
as well as portions of the East and West buildings that had been previously attached to the Main
Building via enclosed hallways termed "links._" Most of the columns in the various structures
required re~strengthening after the collapse had occurred

l understand that portions of the building plans and notes have been furnished in discovery
Refe`r to Exhibit 1 that shows a composite floor plan end Exhibit 2 that shows a cross section
through the main building and adjacent structures

; _T_hi_s report is based in parton my review of relevant sections of the documents which l
have reviewed, including the architect contract between the district and ERO and the EROl
= contract with Franl< Lam and Associat`es, the various assessments and evaluations prepared by
them, the plans and specifications for Phase |, change directives and change orders;
photographs the construction contract,- and reports and plans l have also reviewed the post-
collapse reports by F.rank Lam & Associates; Riml<us Engineers; Raba i<istner Geotechnicai
Consultants; GCG Garner Consu|t|ng Group and Delta Structural Technology.

l have also relied on my formal education and training as a multi- disciplined (inc|uding
structural) Te><as licensed professional englneer, my forty-five- -plus years of experience in
professional engineering design and inspection services,' plus previous experience as a stock~
holder and/or CEO of construction companies with cost estimating expertise

in reaching my opinions as to whether ERO and Frank Lam &- Associates failed to perform in
accordance with the standard o_f care applicable to structural en'glneers‘, | have made certain
assumptions regarding the extent of the terms of the engagements between ERO and Frank_ i.a_m
j& Associates, l have also assumed that the documents made available to me do not omit critical
facts l reserve the right to modify my opinions should further documentation clarify a matter.

_Thls |etter~report ls preliminary in that lt represents my observations and opinions to date; `
and may be 'cha'ngedwith` or without notice should l receive additional information that merits
reconsideration l have not needed to visit the site to reach my opinions and conclusions Refer
to Ap`pendi)< “A" for Definitions.

1.2 Documents furnished

Architectura| and engineering plans and notes, including early progress drawing files.
Specif-i_cation from the project manual pertaining to "Demolition". See Exhiblt 3

;Change orders a_n__d change directives

Emails among architect and structural engineer

Reports‘ b'y ERO; Terr-acor_\; Frank Lam & Assoclates; Rimkus; Raba Kistner Geotechnical
Consuitants; GCG Garner Consu_|ting Group and De|ta Struct`ural Techno|ogy

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'_~"PI'*"!"!"

 

Case 7:15-cv-OO465 Document 1-2 Filed in TXSD on 11/06/15 Page 49 of 55

6. CDs containing photographs and other information supplied by ERO and Frank Lam &
Associates, inc.

2.0 Main Building and Connected _Structures

The following discussion expands on the text of the discoveries made by Frank Lam in the
Lam report dated October 18, 2010 after the building segment had collapsed:

;B_efore the rehabilitation project began, the interconnected school building consisted of the
Main Building, the East and West Wings,~ and the E`ast and West Llnks that connected the lvlain
Building to thejtwo Wings. See Ex'hiblt 1. Refer to Exhibit 2 for a building section detali.

The Main Building was constructed with a partial basement See Exhiblt 4. The basement
has a floor elevation approximately five to_ six feet below grade, leaving the first floor about five
feet above grade. See E)<hlbit 2.

The columns and exterior walls at the basement consist of reinforced concrete. The interior
columns ln the basement support the interior portions of the first floor slab and columns loads
from above; and the exterior concrete walls support the exterior portion of the first floor slab as
well as the load bearing walls carrying the loads from above.

The first and second floors (Exhlb|ts 5 and 6) are constructed of reinforced concrete slab
and concrete beams. interior columns are also reinforced concrete. The first to second floor
interior columns support a portion of the second floor concrete slab and loads from above, and
the second floor to roof interior columns support a portion of the reinforced concrete roof. A
brick parapet projects from the perimeter of the roof. '

The exterior walls are brick and |oad'~bearlng clay tiles that support the exterior slab
portions of both the second floor and the roof._ The clay tile walls contain exterior clay tile
pllaster columns that also carry exterior slab portions of both the second floor and the roofl
These clay tile pi|aster_ columns also abutting the more recently constructed East and West Llnks.
Load bearing structural clay tile walls were vintage construction practice of the early 1900's. See
Exhlbit 7. i

There were two large openings in the load bearing walls and concrete beams would act as
headers across the openings Sor`ne openings had been filled with unreinforce'd concrete
masonry units. l

The two Wings and the Llnks have a first floor at ground level and a second floor. They were
constructed of reinforced concrete slab and beams at the second floor and the roof. The later
addition of the W_lngs and the Llnks attached to the Main Building without an expansion joint.
The relevance of the lack .of an expansion joint is elaborated on beiow.

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Case 7:15-cv-OO465 Document 1-2 Filed in TXSD on 11/06/15 Page 50 of 55

The Llnks were supported by cast in place concrete columns and beams. The columns in the
Linl<s abutted the columns in the Main Building. Ailegedly, the difference ln column type
between the clay tile columns inside the Main Building and the concrete columns lnslde the
Llnks could not be visibly ascertained by a casual visual examination because they had:been
plastered together at the time the Llnks were constructed even though it would be obvious that
the Main _B_u_||cling had an exit at that location and the Link`s` were constructed much later in time.
To clearly ascertain the difference in column type, an engineer would need to conduct testing as
part of a detailed examination before preparing the recent plans

3.0 Background
3`1 Terracon inspection and Report

On or about Fab'ruary 22, 2008, _a Houston-ba_sed firm of consulting engineers ~ Terrac'on -
published its report of an on-slte property condition assessment and inspection of thel buildings
considered for renovations/upgr'ades. Terracon’s assessment was based upon visual inspection
of the property, some construction drawings relating to alteration and remodeling prolects, as
well as interviews with the District’s construction manager, Mr. Ray Sanchez and lVir E|| Ochoa,
P.E., A.l.A., an engineer working for ERO.

Terrracon noted (page 11) that the foundation for the main building was not visible at any
location; however, no significant signs of structural distress were noted in the building framing
observed So_me minor stair step diagonal cracking in the brick veneer was noted on the upper
area of the north eievation near the main entrance and on the east wing of the original
structure Ter_r'acojn reported that the cracks had been previously repaired and did not appear

l to be dynamic in nature _

ln describing the building structure, Terracon wrote: “T he Main Building appeared to
consist of a reinforced concrete frame with masonry and structural clay tile exterior walis.
E)<terior stalrwe|ls were added during previous remodeling Originai open spaces on either side
of the original connecting corridor from the Main Building to the Auditorlum were enclosed
utilizing steel framing that supports metal roof decking and stucco-flnlshed_ exterior walls ..The
Main Building roof appears to be applied to a reinforced concrete deck...."

5 Terrracon noted (pa`ge llli "The building framing elements were generally partially
obscured in ali buildings The reinforced concrete structure of the Main Building generally
appeared to be in good condition with isolated areas of damage primarily due to water
lnfiitration. n n l

 

Case 7:15-cv-OO465 Document 1-2 Filed in TXSD on 11/06/15 Page 51 of 55

3.2 ERO inspection and Report

About March 3,' _2`008, ERO completed itsl own inspection of the existing structures at
Memoria| iviiddle Schooi.~ ERO’s report of its inspection noted various problems with the
existing structures and the site, including large amounts of standing water and needed repairs or
upgrades to the roofing system and exterior wails.

j The report ultimately recommended that the District should replace the campus rather than
proceed with renovations and upgrades‘, and cautioned that major transformations, such as an
evisceratlon of interior components for structural repairs to th_e foundation, sub-flooring rand
lwalls would be necessary ifthe District proceeded with renovations.'

ERO noted (pag'e 1): "Moisture problems are present both inside the buildings and with
surface drainage on site. Six inches of standing water (p`ossibiy inside the basement) as seen onf
a site visit, if not corrected soon with ca use further structural damage to the facilities Waterl
leakage from roofs, _oid windows and doors, as well as HVAC equipment also add to the ongoing
decay of the facilities.i‘

ERO ipage 2) noted: 'FCosts to remediate the structural components of the buildings are
extensivel Uneven settlement of the foundation has occurred, requiring underpinning." With a
special note concerning demolition, ERO continued: " Often times in selective-demolition to
structure for repairs, unknown circumstances become apparent that lead to additional
demolition than what was pianned."

ERO (page_ 2) noted: ."if existing buildings are to be renovated for middle school use, the
buildings would need major transformations. The main building would likely require
evisceration of interior components so structural repairs could be made to the fo_undation`,
subflooring and wall's." '

On lVia`rch 23, 2008, Eli Ochoa. professional engineer with ERO, noted in a |etter: "There are
no significant signs of structural distress on any of the building_s‘ foundations There are some
noted perimeter wall cracks on the Main Building and the old band hall wing of the Starnbaugh
Building. The cracks are most likely caused by minor differential settlement of the foundations
and can be readily repaired by underpinning‘the perimeter foundation beams with cast~in place
concrete drilled piers...’. Whi|e the buildings are in generally good condition, isolated areas of
damage due to water infiltration are evident throughout the buildings;"

U|timateiy, on` the basis of reported subsequent representations from E'RQ that it would be
safe,¢ feasible and economically practicable to proceed, reportedly the governing board of the
District authorized the renovation/upgrade project to be completed in two phases. Phase l
would be the upgrade/renovation and adaptive reuse of' the three story main building (“iV|ain

 

Case 7:15-cv-OO465 Document 1-2 Filed in TXSD on 11/06/15 Page 52 of 55

Building") and Phase ll would be the upgrade/renovation and adaptive reuse of the band hall
(Stambaugh Building) and a building used for textbook storage (”textbool< storage building”).

4.0 Frank Lam & Associates Contract and Reports

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4.1 Terracon budgeted a $40,000 fee for a structural inspection and report

The Februarv 22, 2008 `i'erracon report concluded that the buildings (ln generali were in
"'fair to poor condition'f and recommended _(page 2) that a structural engineer be budgeted
$40,000.00 to conduct an on~slte review and report in order to determine the structural
condition and capacities of certain buildings and prepare recommendations for renovation.

in its report, Terracon had provided estimated repair cost tables. Terracon included an
estimated cost of "Structura| .En'glne"er`, On-slte review & report" of $40,000.00. Defined duties
of the structural engineer Were "To determine structural condition and capacities of certain
buildings and prepare recommendations for renovation." Terracon did not include an estimated
additional cost of the engineer to prepare the structural plans and similar construction
documents

4.2 ERO budgeted a $27,200 fee for a structural inspection and report.

ERO, in its March 3, 2008 report with similar tables as Terracon, reduced Terracon's
estimated cost of structural "on-site review & report" from $40,000.00 to $27,2`00.00 (ERO page
1 of 4) while referring to the .Terracon report as the source documentl Terracon shows no such
cost figure.

4.3 ER`G offered a $10,940 fee to Frank Lam &Associates for a structural inspection and
report.

On September 8, 2009, Jesus V. Delgado of ERO sent a "Letter Agreement for Structura|
Englneering on the PSJA _lSD Eari\/_l Co|iege ngh Schooi project“ to Fra_nk Lam of Frank Lam &
Associates, |nc. (-"Larn") referencing "vour proposals" In which Lam had agreed to conducting a
“Structura'| Eva|uation and Report of Existi`ng Facilit`y for $_10, 940. 00 " which is a much lower fee
than the $40 000 00 estimated by Terracon and less then half the $27, 000. 00 fee estimated by
ERO Such a substandard fee would not enable La_m to undertake a thorough professional
investigation, including testing, and determination of the structural condition of the Main
Building.

The ERO letter also contained onerous terms. Lam had also agreed to_prepare "Structural
Engineering and Constructlon Documents for Renovation & Addltions to the Main Building 1
Phase l for $26,360.00 " Mr_. Deigado wrote: "The total combined fixed fee is $37,300.00. Thls

 

Case 7:15-cv-OO465 Document 1-2 Filed in TXSD 0n_11/06/15 Page 53 of 55

combined amount will be the agreed upon total upon which to invoice. invoicing shall be on a
percentage of total work completed Foilowing is how | interpret the fee payment arrangement:

1. Schematic Design » $20%. Lam would not be paid for the structural evaluation and
report until after ERO had conducted it's schematic design on which the structural
evaluation and report depended Afte`r the architect had completed its schematic
design, ERO would be paid 0.20 x $37_,300._00 = $7460.00.

12. Design Development ~i 20%. Lam would not be paid the balance owed to him on_ the
Structural E_valuation and Report of Existing Fac_i|ity of $10,940:.00 - $7460.00 = $3480.00 j
until the architect had completed its next stage `~ Design Development - and was ready
to start 'on the plans and specification

in my opinion, Lam had limited itself to few choices under this contractual arra ngement:

1. His choice was to conduct a proper structural evaluation and report that would include
limited testing of structural building e|'ements; attempting to discover the source of the
water problem in the basement of the main building; and reach conclusions that.woui_d
indicate that the exterior walls at the main building are load bearing walls and the
columns are combination clay tile and concrete - not a complete concrete frame as Lam
evidently ultimately assumedl Lar_n could then recommend in his report that special
precautions be taken during demolition, Such a proper investigation and report by Lam
would be more costly to Lam, and if Lam went to ERO for more money, ERO wouid need
to go to the District for more money. The District would learn that the overall budget
would need to be increased by imposing additional safety procedures related t_o regular
monitoring of the demolition process by the Contractor.

2. An alternative to Lam ~ Risk the cost of driving to the slte, taking some photographs, and
writing a brief report that everything was structurally sound thereby assuring Lam of
eventual payment.

3. Another alternative is that Larn was simply careless in conducting its inspection and
preparing its report and therefore, professionally negligent

in my opinion, ERO had already formed its own opinion that the building was sound enough
to generate substantial architectural iees. Nev.ertheless, instead of walking away, Lam accepted
the conditions, most likely because Lam would eventually receive a $37,300.00 total fee.

l-l_ad ivir. Lam made the proper professional investigation including testing, he would have
determined in advance the nature of the structural elements of the buildings and included in the
plans a practical, safe way of notifying the contractor of the need for proper shoring and bracing
and on-site observations that would need to made with regard to demolishing the Linl< portion

8

 

Case 7:15-cv-OO465 Document 1-2 Filed in TXSD on 11/06/15 Page 54 of 55

or the buildings in order to protect the Main Building from the contractor's potential means and
methods for conducting the demolition process

lt is my professional opinion that |Vir. Frank Lam, P.E, and Franl< Lam:& Associate`s, lnc. is
responsible for at least the following ect, erro_r, or omission that exists on the Project -- failing to
undertake a more thorough investigation and determination of the structural integrity of an
existing building for future modification and existing conditions of the facilities

4.4 Lam Report dated Se_ptember 30, 2009

lVir. Frani< Lam, PE compiled a_ report dated Septe_mber 30, 2009 stating that Franl< Lam &
_Assoclat`es; incg "was contracted with ERO Architects to provide a structural engineering report
for the Early' Co||ege Highi`$chool Project in PS.iA |SD. The engineering report includes evaluation
of the existing structure and discussion of the issues related to renovations of the existing
bulldings, and provides recommendations for the structural system of the proposed building
additions."

Under "Scope of Work" the report state`s: '”i' he scope of work includes a site visit to observe
the structural members and any major structural distresses in order for ustc evaluate the
structural condition ofthe existing b_uildings. The site visit was performed on August 27, 2009.
Renovation items which affect the structure include proposed openings in_ the basement
concrete wa_l|, demolition o_f the structures in between the main building and the east and west
wlngs, demolition of the exterior raised walkway at the auditorium annex, demolition of the
central entry stairs at the north side of the main bullding, cutting the existing floor slab for pipe
penetrations and new mechanical chase openings, proposed openings in the exterior masonry
walls at the main building Propos_ed building additions include the mechanical room and the
elevator shaft at the basement, the 'first and second floor structure between the main building
and the east and west w_ings.'..l"

Under "Review of Existing Structura| Docume`nts" the report states that there were no
drawings to work from and that "The' condition or the structurel the framing system, and the
structural evaluation ofthe existing buildings are based on site observations of the exposed
structural member and our past experience on similar buildings." in other words, Lam did not
do any exploratory testing, such as having an assistant present to chip or drill into suspected
concrete or tile column locations to determine what materials had been used or to determine if .
the exterior walls were load bearing clay tile, vintage for the era the building was built, or full
concrete structural frame with concrete floors and concrete columns. `

The Lam report stated: “B_ased on our site observation, the buildings were constructed of
concrete slab, beams and columns as primary structural members The exterior of the buildings
were constructed with masonry and stone."

 

Case 7:15-cv-OO465 Document 1-2 Filed in TXSD on 11/06/15 Page 55 of 55

Nowhere in the report did Lam state that the exterior walls and pi|aster columns were load
bearing clay tile, because he had not conducted any tests.

The Lam report concluded "in general, we believe that the existing structures are in good
condition for the ninety year old buildings and the proposed building additions should not affect
the structural integrity of the bulldings."

5.0 Discossion of the Collapse

Phase l of the Project entailed demolition of certain outer columns and support structures ;
in order to construct improvements to the Main Building. Sp_ec_lfic'ally, these improvements
would be structures that linked newer building wings to theft/lain Building. During the course
of the demolition of the outer support structures, portions of the main school building not
designated for demolition, including large par-ts of the east wall and second story rloor,
collapsed As a result of the east wail collapse portions of the west wall and support columns in
the basement suffered structural damage necessitating significant repairs.

The Septernber 30 2009 report prepared by Mr Lam was based on cursory observations.
The engineering report was to have included an “evaluat|on of the existing structure and =
discussion of the issues related to renovations of the existing buildings and provide
recommendations for the structural system of the proposed building additions.” Ho_wever, the
report stated "The condition of the structure, the framing system, and the structural evaluation
of the existing buildings are based on site observations of the exposed structural members and
our past experience on similar buildings " i.am evidently did not do any exploratory testing,
such as having an assistant present to chip or drill into suspected concrete or tile column
locations to determine what materials had been used or to determine if the exterior walls were

j load bearing clay tile`, vintage for the era the building was built o_r full concrete structural frame
with concrete floors end concrete columns as he;ultimate|y evidently assumed

The Lam report stated: "Base`d on our site observation, the buildings were constructed of
concrete slab, beams and columns as primary structural members The exterior of the buildings
were constructed with masonry and stone... in generai, we believe that the existing structures
are in good condition for the ninety year old buildings and the proposed building additions
should not affect the structural integrity of the buildings."

On or about September 22, 2010 a structural collapse occurred at the east end of the Main
Building at the Project site The contractor had been demolishing a` narrow "link" building
attached to the i\_/iain Building and adjacent to another building located further east. On
October 18 2010 another Lam-generated report stated: "`l' he concrete slab and beams at the
second floor and the roof are partially supported by masonry columns at the building corners
and at the entrance corridor and partially supported by exterior load bearing masonry wall
which is constructed of brick veneer and cia_y tiles. " From his observations made after the

10

